 Fill in this information to identify the case:

 Debtor name            HemCon Medical Technologies, Inc.

 United States Bankruptcy Court for the:                       DISTRICT OF OREGON

 Case number (if known)              16-30119-pcm11
                                                                                                                                                                                      Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $       25,136,144.27

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $       25,136,144.27


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $        5,154,000.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 6a of Schedule E/F..........................................................................                                     $            60,598.63

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 6b of Schedule E/F................................................                                             +$        4,745,383.69


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           9,959,982.32




 Official Form 206Sum                                      Summary of Assets and Liabilities for Non-Individuals                                                                            page 1 of 1
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                                                         Case 16-30119-pcm11                                       Doc 70                Filed 01/29/16
 Fill in this information to identify the case:

 Debtor name         HemCon Medical Technologies, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF OREGON

 Case number (if known)         16-30119-pcm11
                                                                                                                                       Check if this is an
                                                                                                                                        amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                       12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which
have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or
unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No.   Go to Part 2.
       Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                        debtor's interest
 2.         Cash on hand                                                                                                                                  $80.00



 3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
            Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                             number
                   Bank of the Cascades Operating
            3.1.. Account ending -7793.                                                                                                                 $513.00



                   Bank of the Cascades payroll account
            3.2.. ending -7807.                                                                                                                               $0.00



                   Bank of the Cascades e-commerce
            3.3.. account ending -1383.                                                                                                                   $22.00



 4.         Other cash equivalents (Identify all)

 5.         Total of Part 1.                                                                                                                        $615.00
            Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:        Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No.   Go to Part 3.
       Yes Fill in the information below.
 7.         Deposits, including security deposits and utility deposits
            Description, including name of holder of deposit
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                                page 1
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                                               Case 16-30119-pcm11                  Doc 70      Filed 01/29/16
 Debtor         HemCon Medical Technologies, Inc.                                                 Case number (If known) 16-30119-pcm11
                Name




            7.1.. GPO Morgan LLC                                                                                                            $118,421.00



 8.         Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
            Description, including name of holder of prepayment


            8.1.. Prepaid insurance (Woodruff-Sawyer & Co)                                                                                   $49,088.00




            8.2.. Prepaid expenses. See Attachment A.                                                                                        $21,903.77




            8.3.. Legal Retainer (Miller Nash LLP)                                                                                           $13,060.50




            8.4.. Legal retainer (Lawrence Matasar, PC)                                                                                        $2,500.00




            8.5.. Legal Retainer (Donald Gouge, Jr LLC)                                                                                          $267.00




            8.6.. Deposit (Peterkort lab space deposit)                                                                                        $2,000.00




 9.         Total of Part 2.                                                                                                          $207,240.27
            Add lines 7 through 8. Copy the total to line 81.

 Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

       No.   Go to Part 4.
       Yes Fill in the information below.
 11.        Accounts receivable
            11a. 90 days old or less:                           251,069.00      -                                0.00 = ....                $251,069.00
                                              face amount                           doubtful or uncollect ble accounts




            11b. Over 90 days old:                                   9,931.00   -                          7,132.00 =....                      $2,799.00
                                              face amount                           doubtful or uncollect ble accounts



 12.        Total of Part 3.                                                                                                          $253,868.00
            Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                      page 2
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                Name


     No.    Go to Part 5.
     Yes Fill in the information below.
                                                                                                         Valuation method used   Current value of
                                                                                                         for current value       debtor's interest

 14.       Mutual funds or publicly traded stocks not included in Part 1
           Name of fund or stock:

 15.       Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
           partnership, or joint venture
           Name of entity:                                               % of ownership


           15.1.. Castlerise Investments, Ltd.                                      100           %      N/A                                 Unknown



 16.       Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1
           Describe:


 17.       Total of Part 4.                                                                                                                   $0.00
           Add lines 14 through 16. Copy the total to line 83.

 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

     No.    Go to Part 6.
     Yes Fill in the information below.
           General description                       Date of the last         Net book value of          Valuation method used   Current value of
                                                     physical inventory       debtor's interest          for current value       debtor's interest
                                                                              (Where available)

 19.       Raw materials
           Raw materials                             1/14/16                          $65,056.46         NBV                               $64,056.00



 20.       Work in progress
           Work in progress                          1/14/16                         $109,621.00         NBV                              $109,621.00



 21.       Finished goods, including goods held for resale
           Finished goods.                           1/14/16                         $352,369.00         NBV                              $352,369.00



 22.       Other inventory or supplies

 23.       Total of Part 5.                                                                                                           $526,046.00
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
            No
            Yes
 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
            No
            Yes. Book value                              18314 Valuation method       cost                    Current Value            18314

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
            No
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                    page 3
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                Name


            Yes
 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

     No.    Go to Part 7.
     Yes Fill in the information below.

 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     No.    Go to Part 8.
     Yes Fill in the information below.
           General description                                                Net book value of      Valuation method used   Current value of
                                                                              debtor's interest      for current value       debtor's interest
                                                                              (Where available)

 39.       Office furniture
           Desks, chairs, partitions, etc.                                            $87,571.00     NBV                                 $87,571.00



 40.       Office fixtures
           Office space leasehold improvements                                        $42,896.00     NBV                                 $42,896.00



 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           Computers, monitors, etc.                                                  $31,221.00     NBV                                 $31,221.00



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collect bles

 43.       Total of Part 7.                                                                                                            $161,688.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
            No
            Yes
 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
            No
            Yes
 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

     No.    Go to Part 9.
     Yes Fill in the information below.
           General description                                                Net book value of      Valuation method used   Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value       debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 4
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                Name

 48.        Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
            floating homes, personal watercraft, and fishing vessels

 49.        Aircraft and accessories


 50.        Other machinery, fixtures, and equipment (excluding farm
            machinery and equipment)
            Manufacturing machinery and equipment.                                   $141,879.00     NBV                                $141,879.00



 51.        Total of Part 8.                                                                                                      $141,879.00
            Add lines 47 through 50. Copy the total to line 87.

 52.        Is a depreciation schedule available for any of the property listed in Part 8?
             No
             Yes
 53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
             No
             Yes
 Part 9:        Real property
54. Does the debtor own or lease any real property?

     No.    Go to Part 10.
     Yes Fill in the information below.

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

     No.    Go to Part 11.
     Yes Fill in the information below.
            General description                                               Net book value of      Valuation method used   Current value of
                                                                              debtor's interest      for current value       debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets
            See Attachment B                                                                $0.00                                          Unknown



 61.        Internet domain names and websites

 62.        Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations

 64.        Other intangibles, or intellectual property
            IP/Technology; Customer Base;
            Trade-Name/Marks; Non-Compete.                                                  $0.00                                          Unknown



 65.        Goodwill

 66.        Total of Part 10.                                                                                                                 $0.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 5
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                Name


             No
             Yes
 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
             No
             Yes
 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
             No
             Yes
 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

     No.    Go to Part 12.
     Yes Fill in the information below.
                                                                                                                                 Current value of
                                                                                                                                 debtor's interest


 71.        Notes receivable
            Description (include name of obligor)
            Intercompany receivable - due from                            4,661,065.00 -                        4,161,065.00 =
            Altracel                                                  Total face amount    doubtful or uncollectible amount               $500,000.00



 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)
            Federal TSWI and HemCon Medical Technologies, Inc.
            US Consolidated                                                                    Tax year 2014                          $10,646,794.00


            Federal TSWI and HemCon Medical Technologies, Inc.
            US Consolidated                                                                    Tax year 2013                          $12,654,886.00



 73.        Interests in insurance policies or annuities

 74.        Causes of action against third parties (whether or not a lawsuit
            has been filed)

 75.        Other contingent and unliquidated claims or causes of action of
            every nature, including counterclaims of the debtor and rights to
            set off claims

            Insurance claim for lost or misplaced inventory.                                                                               $43,128.00
            Nature of claim          Insurance claim.
            Amount requested                        $43,128.00



 76.        Trusts, equitable or future interests in property

 77.        Other property of any kind not already listed Examples: Season tickets,
            country club membership

 78.        Total of Part 11.                                                                                                       $23,844,808.00
            Add lines 71 through 77. Copy the total to line 90.

 79.        Has any of the property listed in Part 11 been appraised by a professional within the last year?
             No
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                    page 6
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            Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 7
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 Debtor          HemCon Medical Technologies, Inc.                                                                   Case number (If known) 16-30119-pcm11
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                     Current value of real
                                                                                                    personal property                    property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                $615.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                               $207,240.27

 82. Accounts receivable. Copy line 12, Part 3.                                                                   $253,868.00

 83. Investments. Copy line 17, Part 4.                                                                                     $0.00

 84. Inventory. Copy line 23, Part 5.                                                                             $526,046.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                              $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                        $161,688.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                    $141,879.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                 $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                          $0.00

 90. All other assets. Copy line 78, Part 11.                                                   +            $23,844,808.00

 91. Total. Add lines 80 through 90 for each column                                                       $25,136,144.27             + 91b.                       $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $25,136,144.27




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                             page 8
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                                                   Case 16-30119-pcm11                                Doc 70             Filed 01/29/16
In re HemCon Medical Technologies, Inc.                                                                    Case No. 16‐30119‐pcm11



                                                            ATTACHMENT A
                                                           Prepaid Expenses


                                                                                          Beginning                  Balance
                         Prepaid Expenses                        Amortizaton Period        Balance     January      Remaining
                                                                                                       24,381.34
 Sophos ‐ Virus protection software
 Sophos Software2nd of 3 year lease 925.83                 Sep15‐Aug16                        617.23      (77.15)       540.08
 Sophos Software3rd of 3 year lease 925.84                 Sep16‐Aug17                        925.84                    925.84
                                                                                                 ‐                         ‐
 NSA of Ireland ‐ ISO13485 Certification for the Company                                         ‐                         ‐
 2nd of 3 Year Review 09/15‐08/16 $4806.86                 $14,420.59 3 years               3,204.58     (400.57)     2,804.01
 3rd of 3 Year Review 09/16‐08/17 $4806.86                                                  4,806.87                  4,806.87
                                                                                                 ‐                         ‐
 NSA of Ireland ‐ Dental family CE mark ‐ 3 yr             252.756.05 ‐ $8,400 total             ‐                         ‐
 3rd of 3 Year Review 08/15‐07/16 $2,800                   233.33 / mo                      1,633.35     (233.33)     1,400.02
                                                                                                 ‐                         ‐
 Adaptive Planning Software                                11/1/15‐10/31/16 $441/mo         4,410.00     (441.00)     3,969.00
                                                                                                 ‐                         ‐
 Gael Limited ‐ One year Q‐Pulse license                   Jul 2015 ‐ Jun 2016              1,599.94     (266.67)     1,333.27
                                                                                                 ‐                         ‐
 Avalara ‐ Annual Fees (ERP Connection & CertCapture)      Nov 14 ‐ Oct 15: $295.83/mo          0.04                      0.04
 Annual Fees (ERP Connection)                              Nov 15 ‐ Oct 16: $235.83/mo      2,358.34     (235.83)     2,122.51
 Annual Fees (CertCapture)                                 Nov 15 ‐ Oct 16: $141.67/mo      1,416.66     (141.67)     1,274.99

 Fine Solutions ‐ Annual Fee and GP Enhancement Plan       6/26/15‐6/25/16; $681.35/mo      3,408.49     (681.35)     2,727.14

 Total Prepaids                                                                            24,381.34   21,903.77     21,903.77




                                                                                                                        Schedule B
                                                                                                                    ATTACHMENT A
                                                                                                                        Page 1 of 1
                                   Case 16-30119-pcm11              Doc 70         Filed 01/29/16
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         3DJH RI 
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         3DJH RI 
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         3DJH RI 
         6FKHGXOH %
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         3DJH RI 
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         3DJH RI 
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         3DJH RI 
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         3DJH RI 
         6FKHGXOH %
     $77$&+0(17 %
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        3DJH RI 
         6FKHGXOH %
     $77$&+0(17 %
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        3DJH RI 
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        3DJH RI 
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        3DJH RI 
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        3DJH RI 
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        3DJH RI 
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8$ $3 < --                                         $           ))(          )')
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                !%     /,  . * / /  ,    / /




  3#:                                                 '&         $                               &5&
                               .*                           $                            5/         5/


              




                                                                                                                           6FKHGXOH %
                                                                                                                       $77$&+0(17 %
                              Case 16-30119-pcm11                    Doc 70             Filed 01/29/16                    3DJH RI 
,Q UH +HP&RQ 0HGLFDO 7HFKQRORJLHV ,QF                                                                    &DVH 1R SFP




                                                                                                


                                                                                                 
                                                                                      

  3#:                                                 '5        $                                 &5&
                                .                            $                            5/          5/


             

  3#:                                                 '        $                                 &5&
                                7  *.@                            $                            5/          5/


             

  3#:                                                 '        $            5            "'&&'
                                                             #$           !   !%   )/          


               !%       7   *    - +.     * +. . *
                                      *  @ * . 0 +.  
                      !%     7   *      * A  /      * 
                                  @ * .

  3#:                                                 '        $                                 &5&
                                , < /* B $ /. * =          $                            5/          5/


             

  3#:                                                 '        $                                 &5&
                                > , $ /. *                       $                            5/          5/


             

  3#:                                                 ')        $                                 &5&
                                   -                            $                            5/          5/


             

  3#:                                                 '        $                                 &5&
                                3                            $                            5/          5/


             

  3#:                                                 '        $                                 &5&
                                1*                            $                            5/          5/


             

  3#:                                                 ''        $                                 &5&
                                1                               $                            5/          5/


             

  3#:                                                 '        $                                 &5&
                                8                              $                            5/          5/


             




                                                                                                                            6FKHGXOH %
                                                                                                                        $77$&+0(17 %
                               Case 16-30119-pcm11                   Doc 70          Filed 01/29/16                        3DJH RI 
,Q UH +HP&RQ 0HGLFDO 7HFKQRORJLHV ,QF                                                                        &DVH 1R SFP




                                                                                                  )  


                                                                                                     
                                                                                          

  3#:                                                   '&         $                                  &5&
                                8                                   $                             5/           5/


             

  3#:                                                   '5         $                                  &5&
                                 .                              $                             5/           5/


             

  3#:                                                   '         $            9)&)              &5&
                                !B* $             #$            !   !%   5/           5/
                                        (  *
               !%       7   *    - +.     * +.. *
                                     /         *  @ * . 0 +.  
                      !%     7   *      * A  /    / 
                                      *  @ * .

  3#:                                                   ')         $                                  &5&
                                ! *                              $                             5/           5/


             

  3#:                                                   '5)         $            &)               &)
                                ! *                               #$            !%            )6           ''


               !%       7   *    - +.     * +. . *
                                      *  @ * . 0 +.  

  3#:                                                   '5         $            &               &
                                ! *                               #$            !%            )6           ''


               !%       7       *      * A  /      * 
                                  @ * .

  3#:                                                   ')         $                                  &5&
                                !*                                $                             5/           5/


             

  3#:                                                   ')         $                                  &5&
                                6/                                $           !%            5/           &


               !%       7        *    - +.. *  

  3#:                                                            $            )))(            )'
                                6/                                #$            !%                                  # 


               !%       /,  . * / /

  3#:                                                   '))         $                                  &5&
                                2;                               $                             5/           5/


             




                                                                                                                                6FKHGXOH %
                                                                                                                            $77$&+0(17 %
                               Case 16-30119-pcm11                     Doc 70           Filed 01/29/16                         3DJH RI 
,Q UH +HP&RQ 0HGLFDO 7HFKQRORJLHV ,QF                                                                    &DVH 1R SFP




                                                                                                 


                                                                                                  
                                                                                       

  3#:                                                ')         $                                  &5&
                              2,.                           $                            5/            5/


             

  3#:                                                '         $           '))                &5)
                               @                               #$            !%           )/            ):;


               !%     7   *    - +.     * +. . *
                                    *  @ * . 0 +.  

  3#:                                                '         $           '))                &555
                               @                               #$            !%           )/            ):;


               !%     7      *      * A  /      * 
                                @ * .

  3#:                                                ')         $                                  &5&
                              :+                              $                            5/            5/


             

  3#:                                                ')'         $                                  &5&
                              *                              $                            5/            5/


             

  3#:                                                ')         $                                  &5&
                              .*                            $                            5/            5/


             

  3#:                                                ')&         $                                  &5&
                              $. 1                    $                            5/            5/


             

  3#:                                                ')5         $                                  &5&
                              *;-                            $                            5/            5/


             

  3#:                                                '         $                                  &5&
                              *;                             $                            5/            5/


             

  3#:                                                '         $                                  &5&
                              /                               $                            5/            5/


             

  3#:                                                '         $                                  &5&
                              +                                $                            5/            5/




                                                                                                                             6FKHGXOH %
                                                                                                                         $77$&+0(17 %
                             Case 16-30119-pcm11                    Doc 70          Filed 01/29/16                          3DJH RI 
,Q UH +HP&RQ 0HGLFDO 7HFKQRORJLHV ,QF                                                                           &DVH 1R SFP




                                                                                                      


                                                                                                       
                                                                                            
                

  3#:                                                    ')          $                                  &5&
                                   +> *                        $                              5/           5/


                

  3#:                                                    '          $                                  &5&
                                   ".-                              $                              5/           5/


                

  3#:                                                    '          $                                  &5&
                                     C                      $                              5/           5/


                

  3#:                                                    ')5          $            ''&55            ))
                                                      #$             !   !%   6.           &6.*)


                  !%       7   *    - +.     * +.. *
                                        /         *  @ * . 0 +.  
                         !%     7   *      * A  /    / 
                                         *  @ * .

  3#: <-- ,  =                                         $            ))(            '5
                                   6/                              #$             !   !%                         /


                  !%       7      *    - +.. *  
                       !%       7   *      * A  /      * 
                                     @ * .

  3#: 3:"2 $3!:8                                      &'          $            )(            '5
< - ,  =             6/                              #$             !%            5 /           6.*


                  !%       ,  . * / / ,       , ; /*   *    *

  3#:      #*                                                $            ))             '5&
                                   6/                              #$             !   !%                         /


                  !%       7   *    - +.     * +.. *
                                         *  @ * . 0 +.  
                         !%     7   *      * A  /      * 
                                     @ * .

  3#:      #*                                      ')          $            &()            5
                                                      #$             !   !%   )# )           5/


                  !%       7   *    - +.     * +.. *
                                         *  @ * . 0 +.  
                         !%     7   *      * A  /      * 
                                     @ * .

  3#: "                                               '5          $            )55            )&)
                                                      #$             !%            &5            /




                                                                                                                                  6FKHGXOH %
                                                                                                                              $77$&+0(17 %
                                  Case 16-30119-pcm11                    Doc 70           Filed 01/29/16                         3DJH RI 
,Q UH +HP&RQ 0HGLFDO 7HFKQRORJLHV ,QF                                                                          &DVH 1R SFP




                                                                                                '  


                                                                                                   
                                                                                        
                  !%      7   * , ;      - +.     *
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                                   Case 16-30119-pcm11                Doc 70   Filed 01/29/16                       3DJH RI 
 Fill in this information to identify the case:

 Debtor name          HemCon Medical Technologies, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF OREGON

 Case number (if known)              16-30119-pcm11
                                                                                                                                               Check if this is an
                                                                                                                                                amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                       12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                      Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                  Amount of claim             Value of collateral
                                                                                                                                                  that supports this
                                                                                                                      Do not deduct the value     claim
                                                                                                                      of collateral.
 2.1    Sussex Associates, LP                        Describe debtor's property that is subject to a lien                  $5,154,000.00                  Unknown
        Creditor's Name                              All cash, accounts receivable, inventory,
                                                     purchase orders, & all intellectual property
        24200 SW Freeway                             but specifically exclusing all property, plant,
        #402-285                                     and equipment.
        Rosenberg, TX 77471
        Creditor's mailing address                   Describe the lien

                                                     Is the creditor an insider or related party?
                                                      No        ✔   Unknown
        Creditor's email address, if known            Yes
                                                     Is anyone else liable on this claim?
        Date debt was incurred                        No
        11/21/2013                                    Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                As of the petition filing date, the claim is:
        interest in the same property?               Check all that apply
         No                                          Contingent
         Yes. Specify each creditor,                 Unliquidated
        including this creditor and its relative      Disputed
        priority.




                                                                                                                             $5,154,000.0
 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                       0

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                     On which line in Part 1 did        Last 4 digits of
                                                                                                              you enter the related creditor?    account number for
                                                                                                                                                 this entity
         Sussex Associates, LP
         Paul Conrad CPA - RA                                                                                 Line   2.1
         2238 Woodland Park Dr.
         Houston, TX 77077




Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                   page 1 of 1
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                                                   Case 16-30119-pcm11                      Doc 70          Filed 01/29/16
 Fill in this information to identify the case:

 Debtor name         HemCon Medical Technologies, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF OREGON

 Case number (if known)          16-30119-pcm11
                                                                                                                                                   Check if this is an
                                                                                                                                                    amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                   12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured
claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets -
Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in
Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

           No. Go to Part 2.
           Yes. Go to line 2.
       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          wi h priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                      Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                  $0.00      $0.00
           Maire Ni Beilliu                                          Check all that apply.
           1000 SW Vista Avenue, Apt. 410                             Contingent
           Portland, OR 97205                                         Unliquidated
                                                                      Disputed
           Date or dates debt was incurred                           Basis for the claim:
                                                                     Employee. Paid pursaunt to Court Order
           January 2016.                                             entered 1/27/16 [ECF No. 58].
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                  $0.00      $0.00
           Simona Buergi                                             Check all that apply.
           5514 SE Hillwood Circle                                    Contingent
           Milwaukie, OR 97267                                        Unliquidated
                                                                      Disputed
           Date or dates debt was incurred                           Basis for the claim:
                                                                     Employee. Paid pursaunt to Court Order
           January 2016.                                             entered 1/27/16 [ECF No. 58].
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                    page 1 of 43
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                                               Case 16-30119-pcm11                              Doc 70               Filed 01/29/16
 Debtor      HemCon Medical Technologies, Inc.                                                               Case number (if known)   16-30119-pcm11
             Name

 2.3      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $0.00     $0.00
          City of Portland                                           Check all that apply.
          City Attorney's Office                                      Contingent
          1221 SW Fourth Ave., Rm. 430                                Unliquidated
          Portland, OR 97204                                          Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     City Fees or Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.4      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $0.00     $0.00
          Brian Clare                                                Check all that apply.
          2108 SE Cypress Avenue                                      Contingent
          Portland, OR 97214                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee. Paid pursaunt to Court Order
          January 2016.                                              entered 1/27/16 [ECF No. 58].
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.5      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $0.00     $0.00
          Megan Clark                                                Check all that apply.
          17348 Bryant Road                                           Contingent
          Lake Oswego, OR 97035                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee. Paid pursaunt to Court Order
          January 2016.                                              entered 1/27/16 [ECF No. 58].
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.6      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $0.00     $0.00
          Gretchen Daguanno                                          Check all that apply.
          1829 NW Lovejoy Street, #103                                Contingent
          Portland, OR 97209                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee. Paid pursaunt to Court Order
          January 2016.                                              entered 1/27/16 [ECF No. 58].
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 2 of 43
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 Debtor      HemCon Medical Technologies, Inc.                                                               Case number (if known)   16-30119-pcm11
             Name

 2.7      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $0.00     $0.00
          Andie Duplantis                                            Check all that apply.
          2009 NW Overton Street, #1                                  Contingent
          Portland, OR 97209                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee. Paid pursaunt to Court Order
          January 2016.                                              entered 1/27/16 [ECF No. 58].
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.8      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $0.00     $0.00
          Cole Gannett                                               Check all that apply.
          6706 SE Steele Street                                       Contingent
          Portland, OR 97206                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee. Paid pursaunt to Court Order
          January 2016.                                              entered 1/27/16 [ECF No. 58].
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.9      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $6,571.57     $6,571.57
          IRS                                                        Check all that apply.
          POB 7346                                                    Contingent
          Philadelphia, PA 19101-7346                                 Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Medical device tax.
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.10     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $0.00     $0.00
          Simon J McCarthy                                           Check all that apply.
          3715 NW Gordon Street                                       Contingent
          Portland, OR 97210                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee. Paid pursaunt to Court Order
          January 2016.                                              entered 1/27/16 [ECF No. 58].
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 3 of 43
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 Debtor      HemCon Medical Technologies, Inc.                                                               Case number (if known)   16-30119-pcm11
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 2.11     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $1,570.62     $1,570.62
          Multnomah County-DART                                      Check all that apply.
          Assessment, Recording &                                     Contingent
          Taxation                                                    Unliquidated
          POB 2716                                                    Disputed
          Portland, OR 97208
          Date or dates debt was incurred                            Basis for the claim:
                                                                     County Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.12     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $0.00     $0.00
          ODR Bkcy                                                   Check all that apply.
          955 Center NE #353                                          Contingent
          Salem, OR 97301                                             Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Precautionary - State taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.13     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $0.00     $0.00
          Lora Remington                                             Check all that apply.
          12047 SW Tualatin Road, #325                                Contingent
          Tualatin, OR 97062                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee. Paid pursaunt to Court Order
          January 2016.                                              entered 1/27/16 [ECF No. 58].
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.14     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $0.00     $0.00
          Julie Saltamachio                                          Check all that apply.
          14377 SE Meadows Lane                                       Contingent
          Clackamas, OR 97015                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee. Paid pursaunt to Court Order
          January 2016.                                              entered 1/27/16 [ECF No. 58].
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 4 of 43
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 2.15     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $0.00     $0.00
          Stuart Sands                                               Check all that apply.
          2165 NW Everett Steet                                       Contingent
          Portland, OR 97210                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee. Paid pursaunt to Court Order
          January 2016.                                              entered 1/27/16 [ECF No. 58].
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.16     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $0.00     $0.00
          Michelle Sells                                             Check all that apply.
          3501 Burlington Dr                                          Contingent
          Newberg, OR 97132                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee. Paid pursaunt to Court Order
          January 2016.                                              entered 1/27/16 [ECF No. 58].
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.17     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $0.00     $0.00
          Andrew Sprague                                             Check all that apply.
          10601 SW Tigard Street, #4                                  Contingent
          Tigard, OR 97223                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee. Paid pursaunt to Court Order
          January 2016.                                              entered 1/27/16 [ECF No. 58].
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.18     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $0.00     $0.00
          Rachelle Stewart                                           Check all that apply.
          1103 N Meridian St. Unit 4201                               Contingent
          Newberg, OR 97132                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee. Paid pursaunt to Court Order
          January 2016.                                              entered 1/27/16 [ECF No. 58].
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.19     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $0.00     $0.00
          Amennie Tes                                                Check all that apply.
          15520 NE 85th Street                                        Contingent
          Vancouver, WA 98682                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee. Paid pursaunt to Court Order
          January 2016.                                              entered 1/27/16 [ECF No. 58].
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.20     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $0.00     $0.00
          Jana L Wahl                                                Check all that apply.
          11166 SE 30th Avenue                                        Contingent
          Milwaukie, OR 97222                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee. Paid pursaunt to Court Order
          January 2016.                                              entered 1/27/16 [ECF No. 58].
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.21     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $52,456.44     $52,456.44
          Washington County Tax Collector                            Check all that apply.
          155 N 1st Ave. Room 130                                     Contingent
          Hillsboro, OR 97124                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     County Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.22     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $0.00     $0.00
          Michael Wax                                                Check all that apply.
          1500 SW 5th Avenue, Unit 1106                               Contingent
          Portland, OR 97201                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Employee. Paid pursaunt to Court Order
          January 2016.                                              entered 1/27/16 [ECF No. 58].
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 6 of 43
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 Debtor        HemCon Medical Technologies, Inc.                                                             Case number (if known)           16-30119-pcm11
               Name

 2.23       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                                       $0.00    $0.00
            Stephanie Wiegman                                        Check all that apply.
            1460 SW Bertha Blvd, #16                                  Contingent
            Portland, OR 97219                                        Unliquidated
                                                                      Disputed
            Date or dates debt was incurred                          Basis for the claim:
                                                                     Employee. Paid pursaunt to Court Order
            January 2016.                                            entered 1/27/16 [ECF No. 58].
            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                       No
            unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.24       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                                       $0.00    $0.00
            Ervelyn Winata                                           Check all that apply.
            463 NE Natalie Street                                     Contingent
            Hillsboro, OR 97124                                       Unliquidated
                                                                      Disputed
            Date or dates debt was incurred                          Basis for the claim:
                                                                     Employee. Paid pursaunt to Court Order
            January 2016.                                            entered 1/27/16 [ECF No. 58].
            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                       No
            unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes


 Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
        3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
           out and attach the Additional Page of Part 2.
                                                                                                                                                       Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                $2,097.50
           Adams & Chittenden Scientific Glass                                      Contingent
           2741 Eighth St.                                                          Unliquidated
           Berkeley, CA 94710                                                       Disputed
           Date or dates debt was incurred
                                                                                   Basis for the claim:      Trade Creditor
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No  Yes
 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                $5,292.00
           Adaptive Planning/Insights                                               Contingent
           1400 Live Oak Ave.                                                       Unliquidated
           Irwindale, CA 91706-1300                                                 Disputed
           Date or dates debt was incurred
                                                                                   Basis for the claim:      Trade Creditor
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No  Yes
 3.3       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                      $0.00
           Adobe                                                                    Contingent
           345 Park Ave.                                                            Unliquidated
           San Jose, CA 95110                                                       Disputed
           Date or dates debt was incurred
                                                                                   Basis for the claim:      Precautionary.
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No  Yes




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 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          AFLAC                                                               Contingent
          Attn: Remittance Processing                                         Unliquidated
          1932 Wynnton Road                                                   Disputed
          Columbus, GA 31993-0797
                                                                             Basis for the claim:    Precautionary.
          Date or dates debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Agilent Technologies                                                Contingent
          5301 Stevens Creek Blvd                                             Unliquidated
          Santa Clara, CA 95051                                               Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Precautionary.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $762.60
          Airgas USA, LLC                                                     Contingent
          POB 7423                                                            Unliquidated
          Pasadena, CA 91109-7423                                             Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Trade Creditor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Allegiance Benefit Plan Mgmt                                        Contingent
          POB 4346                                                            Unliquidated
          Missoula, MT 59806-4346                                             Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Precautionary.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Allied Affiliated Funding LP                                        Contingent
          5151 Beltline Rd. #500                                              Unliquidated
          Dallas, TX 75254                                                    Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Precautionary. Terminated UCC filing 89714351.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $15,000.00
          Larry L. Alloway                                                    Contingent
          3814 S. Genoa Circle Unit B                                         Unliquidated
          Aurora, CO 80013                                                    Disputed
          Date or dates debt was incurred 1/20/2015
                                                                             Basis for the claim:    Unsecured loan.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Amazon.com, Inc.                                                    Contingent
          410 Terry Ave. North                                                Unliquidated
          Seattle, WA 98109-5210                                              Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Precautionary.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          American Arbitration Association                                    Contingent
          45 E River Park Place W                                             Unliquidated
          Suite 308                                                           Disputed
          Fresno, CA 93720
                                                                             Basis for the claim:    Precautionary.
          Date or dates debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $72.00
          Animal Biotech Industries, Inc                                      Contingent
          POB 519                                                             Unliquidated
          Dansboro, PA 18916                                                  Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Trade Creditor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,000.00
          aptitude LLC                                                        Contingent
          75 Remittance Drive Ste# 1798                                       Unliquidated
          Attn: Accounts Receivable                                           Disputed
          Chicago, IL 60675-1798
          Date or dates debt was incurred
                                                                             Basis for the claim:    Trade Creditor
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Aramark                                                             Contingent
          1801 SW Airport Ave.                                                Unliquidated
          Corvallis, OR 97333                                                 Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Precautionary.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $774.12
          Archive Systems, Inc.                                               Contingent
          23070 NE Townsend Way                                               Unliquidated
          Portland, OR 97024                                                  Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Trade Creditor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Arizona Instrument                                                  Contingent
          3375 N Delaware St                                                  Unliquidated
          Chandler, AZ 85225                                                  Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Precautionary.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          ASQ                                                                 Contingent
          POB 3033                                                            Unliquidated
          Milwaukie, WI 53201-3033                                            Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Precautionary.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Assoc. for the Advc. of Med. Instruments                            Contingent
          c/o Agent Cashier - IFF                                             Unliquidated
          Suite 301                                                           Disputed
          Arlington, VA 22203-1633
                                                                             Basis for the claim:    Precautionary.
          Date or dates debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Atkins Design                                                       Contingent
          617 Curtis Ave.                                                     Unliquidated
          Wilmington, DE 19804                                                Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Precautionary.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,530.00
          Avalara                                                             Contingent
          435 Eriksen Ave., N.E.                                              Unliquidated
          Bainbridge Island, WA 98110                                         Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Sales tax management software.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Balboa Cap/VAR Leasing                                              Contingent
          2010 Main Street 11th Fl                                            Unliquidated
          Irvine, CA 92614                                                    Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Precautionary.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Ball Janik LLP                                                      Contingent
          101 SW Main Street                                                  Unliquidated
          Suite 1100                                                          Disputed
          Portland, OR 97204-3219
                                                                             Basis for the claim:    Precautionary.
          Date or dates debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Bank of America NA                                                  Contingent
          2001 Clayton Road                                                   Unliquidated
          Mail Code: CA4-702-0                                                Disputed
          Concord, CA 94520
                                                                             Basis for the claim:    Precautionary. Terminated UCC Filing 7883059.
          Date or dates debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $17,500.00
          James Barickman                                                     Contingent
          10 Saugatuck Ave.                                                   Unliquidated
          Westport, CT 06880                                                  Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Unsecured Loan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $16,910.01
          Maire Ni Beilliu                                                    Contingent
          1000 SW Vista Avenue, Apt. 410                                      Unliquidated
          Portland, OR 97205
                                                                              Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Deferred bonus.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          BetaKang (ShenZhen) Health Tech., Co. Lt
          16/F, Block B, Pavillion                                            Contingent
          No. 4002 Huaqiang North Road                                        Unliquidated
          Futian District, ShenZhen                                           Disputed
          CHINA
                                                                             Basis for the claim:    Precautionary.
          Date or dates debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Bibby Financial Services (CA), Inc.                                 Contingent
          3027 Townsgate Rd., Ste #140                                        Unliquidated
          Westlake Village, CA 91361                                          Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Precautionary. Terminated UCC Filing 89855170.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,750.00
          Biotest Laboratories                                                Contingent
          9303 West Broadway Ave.                                             Unliquidated
          Brooklyn Park, MN 55445                                             Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Quality control release testing services.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $417.03
          Bird & Bird                                                         Contingent
          4/F Three Pacific Place                                             Unliquidated
          1 Queen's Road East                                                 Disputed
          HONG KONG
                                                                             Basis for the claim:    Patent services.
          Date or dates debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Michel Boileau MD                                                   Contingent
          75 Bond Street                                                      Unliquidated
          Bend, OR 97702                                                      Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Precautionary.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Cheryl Bondurant                                                    Contingent
          10220 SW Sedlak Ct.                                                 Unliquidated
          Tualatin 97062                                                      Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Precautionary. Former employee.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $15,561.25
          Boyd Corporation                                                    Contingent
          600 So McClure Road                                                 Unliquidated
          Modesto, CA 95357                                                   Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Trade Creditor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Robin Brandstetter                                                  Contingent
          6505 SE Needham Street                                              Unliquidated
          Milwaukie 97222                                                     Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Precautionary. Former employee.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $16,750.00
          Simona Buergi                                                       Contingent
          5514 SE Hillwood Circle                                             Unliquidated
          Milwaukie, OR 97267
                                                                              Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Deferred bonus.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Business Accelerator                                                Contingent
          Portland State University                                           Unliquidated
          351 NW 12th Ave.                                                    Disputed
          Portland, OR 97209
                                                                             Basis for the claim:    Precautionary.
          Date or dates debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,694.53
          Carmody Torrance Sandak & Hennessey                                 Contingent
          195 Church Street                                                   Unliquidated
          New Haven, CT 06509-1950                                            Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Trade Creditor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,770.00
          CEpartner4U BV                                                      Contingent
          POB 268                                                             Unliquidated
          Elk River, MN 55330                                                 Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    European authorized representative and consulting
          Last 4 digits of account number                                    services.
                                                                             Is the claim subject to offset?    No  Yes
 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Charles Creighton                                                   Contingent
          1235 N. Going St.                                                   Unliquidated
          Portland, OR 97217                                                  Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Precautionary. Former employee.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          City Center Parking                                                 Contingent
          514 SW 6th Ave., 1st Floor                                          Unliquidated
          Portland, OR 97204                                                  Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Precautionary.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $17,450.01
          Brian Clare                                                         Contingent
          2108 SE Cypress Avenue                                              Unliquidated
          Portland, OR 97214
                                                                              Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Deferred bonus.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,260.00
          Megan Clark                                                         Contingent
          17348 Bryant Road                                                   Unliquidated
          Lake Oswego, OR 97035
                                                                              Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Deferred bonus.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Claude's Accurate Machining                                         Contingent
          14413 NE 10th Ave.                                                  Unliquidated
          Suite A112                                                          Disputed
          Vancouver, WA 98685
                                                                             Basis for the claim:    Precautionary.
          Date or dates debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Combat Medical Systems LLC                                          Contingent
          5555 Harrisburg Industrial Park Dr.                                 Unliquidated
          Harrisburg, NC 28075                                                Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim: Precautionary. Terminated UCC filings 89716703 and
          Last 4 digits of account number                                    89716710 and 89716727.
                                                                             Is the claim subject to offset?    No  Yes
 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Computer Packages, Inc                                              Contingent
          800 Roosevelt Road                                                  Unliquidated
          Building B, Suite 302                                               Disputed
          Glen Ellyn, IL 60137
                                                                             Basis for the claim:    Precautionary.
          Date or dates debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Concord Technologies                                                Contingent
          101 Stewart Street, Suite 1000                                      Unliquidated
          Seattle, WA 98101                                                   Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Precautionary.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Copytronix                                                          Contingent
          16640 SW 72nd Ave.                                                  Unliquidated
          Portland, OR 97224                                                  Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Precautionary.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Corporation Service Company                                         Contingent
          2711 Centerville Road, Suite 400                                    Unliquidated
          Wilmington, DE 19808                                                Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Precautionary.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,450.00
          Cosgrave Vergeer Kester LLP                                         Contingent
          888 SW Fifth Ave., Suite 500                                        Unliquidated
          Portland, OR 97204                                                  Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Trade Creditor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,088.35
          Covenant Technology Solutions, Inc.                                 Contingent
          15 SE 82nd Drive Suite 120                                          Unliquidated
          Gladstone, OR 97027                                                 Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    IT Infrastructure and support services.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Craftsman Label, Inc                                                Contingent
          13101 SE 84th Ave.                                                  Unliquidated
          Clackamas, OR 97015                                                 Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Precautionary.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          CTS LanguageLink                                                    Contingent
          911 Main Street, Suite 10                                           Unliquidated
          Vancouver, WA 98660                                                 Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Precautionary.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $11,147.00
          Gretchen Daguanno                                                   Contingent
          1829 NW Lovejoy Street, #103                                        Unliquidated
          Portland, OR 97209
                                                                              Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Deferred bonus.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $330,000.00
          DayStar Funding LP                                                  Contingent
          5834 Bridlewood Dr.                                                 Unliquidated
          Richmond, TX 77469                                                  Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Unsecured Loan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Department of the Treasury                                          Contingent
          Internal Revenue Service                                            Unliquidated
          Cincinnati, OH 45999-0009                                           Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Additional notice.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Department of Veteran Affairs                                       Contingent
          c/o Agent Cashier - IFF                                             Unliquidated
          POB 7005                                                            Disputed
          Hines, IL 60141
                                                                             Basis for the claim:    Precautionary.
          Date or dates debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Dept of the Treasury                                                Contingent
          Form 5330/Section 4979                                              Unliquidated
          Internal Revenue Service                                            Disputed
          Ogden, UT 84201
                                                                             Basis for the claim:    Precautionary.
          Date or dates debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Donald Gouge, Jr., LLC                                              Contingent
          800 N. King Street                                                  Unliquidated
          Suite 303                                                           Disputed
          Wilmington, DE 19899-1674
                                                                             Basis for the claim:    Precautionary.
          Date or dates debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Dragos Mihalache                                                    Contingent
          17308 SE 3rd St.                                                    Unliquidated
          Vancouver, WA 98683                                                 Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Precautionary. Former employee.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Dravon Medical, Inc.                                                Contingent
          11465 S.E. Hwy. 212                                                 Unliquidated
          Clackamas, OR 97015                                                 Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Precautionary.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,472.00
          Andie Duplantis                                                     Contingent
          2009 NW Overton Street, #1                                          Unliquidated
          Portland, OR 97209
                                                                              Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Deferred bonus.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Stephanie Ebert                                                     Contingent
          1750 Hickory KNL                                                    Unliquidated
          Johns Island 29455                                                  Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Precautionary. Former employee.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          EcoBinary, LLC                                                      Contingent
          8240 SW Nimbus Ave.                                                 Unliquidated
          Beaverton, OR 97008                                                 Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Precautionary.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Employment Screening Srvcs                                          Contingent
          627 E. Sprague, Ste 100                                             Unliquidated
          Spokane, WA 99202                                                   Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Precautionary.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          ENV Services, Inc.                                                  Contingent
          Attn: Receiving Dept.                                               Unliquidated
          10575 SW Cascade Ave., Ste. 130                                     Disputed
          Portland, OR 97223
                                                                             Basis for the claim:    Precautionary.
          Date or dates debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $8,093.75
          eSoftware Professionals                                             Contingent
          10450 SW Nimbus, Suite B                                            Unliquidated
          Portland, OR 97223                                                  Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim: Enterprise Resource Planning software
          Last 4 digits of account number                                    implemetation services.
                                                                             Is the claim subject to offset?    No  Yes
 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $40,000.00
          Essential Healthcare Management                                     Contingent
          25621 Bridgewater Lane                                              Unliquidated
          Dana Point, CA 92629                                                Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Sales support and consultancy services.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          F.A. Voight & Associates LP                                         Contingent
          5834 Bridlewood Dr.                                                 Unliquidated
          Richmond, TX 77471                                                  Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Precautionary. Terminated UCC Filing 89877572.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,325.71
          FedEx                                                               Contingent
          POB 7221                                                            Unliquidated
          Pasadena, CA 91109-7321                                             Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Freight services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $415.10
          FedEx Freight                                                       Contingent
          Attn: Receiving Dept.                                               Unliquidated
          10575 SW Cascade Ave., Ste. 130                                     Disputed
          Portland, OR 97223
                                                                             Basis for the claim:    Freight services
          Date or dates debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,752.00
          FedEx Freight                                                       Contingent
          Attn: Receiving Dept.                                               Unliquidated
          10575 SW Cascade Ave., Ste. 130                                     Disputed
          Portland, OR 97223
          Date or dates debt was incurred
                                                                             Basis for the claim:    Freight services
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          FedEx Trade Networks                                                Contingent
          128 Dearborn St                                                     Unliquidated
          Buffalo, NY 14207                                                   Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Precautionary.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Fidelity Investments                                                Contingent
          POB 73307                                                           Unliquidated
          Plan 79723                                                          Disputed
          Chicago, IL 60673-7307
                                                                             Basis for the claim:    Precautionary.
          Date or dates debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Fine Solutions                                                      Contingent
          20700 44th Ave. West                                                Unliquidated
          Suite 260                                                           Disputed
          Lynnwood, WA 98036
                                                                             Basis for the claim:    Precautionary.
          Date or dates debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          First American Title Co.                                            Contingent
          Accounts Receivable Dept                                            Unliquidated
          24508 Network Place                                                 Disputed
          Chicago, IL 60673-1245
                                                                             Basis for the claim:    Precautionary.
          Date or dates debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.75     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Fluke Electronics                                                   Contingent
          1420 75th Street SW                                                 Unliquidated
          Everett, WA 98203                                                   Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Precautionary.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.76     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Food and Drug Administration                                        Contingent
          US Bank Lock Box, FDA Account                                       Unliquidated
          POB 956733                                                          Disputed
          St. Louis, MO 63195-6733
                                                                             Basis for the claim:    Precautionary.
          Date or dates debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.77     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Frontier Medical Products                                           Contingent
          140 S Park Street                                                   Unliquidated
          Port Washington, WI 53074                                           Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Precautionary.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.78     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Gael Limited
          Orion House                                                         Contingent
          S.E. Technology Park                                                Unliquidated
          East Kilbride G75 0RD                                               Disputed
          SCOTLAND
                                                                             Basis for the claim:    Precautionary.
          Date or dates debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.79     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,071.47
          Cole Gannett                                                        Contingent
          6706 SE Steele Street                                               Unliquidated
          Portland, OR 97206
                                                                              Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Deferred bonus.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.80     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $600.00
          Georgia Regents Medical Associates                                  Contingent
          1499 Walton Way                                                     Unliquidated
          Suite 1400                                                          Disputed
          Augusta, GA 30901
                                                                             Basis for the claim:    Trade Creditor
          Date or dates debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.81     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $43,534.34
          GPO Morgan, LLC                                                     Contingent
          c/o Great Point Investors LLC                                       Unliquidated
          Two Center Plaza, Suite 410                                         Disputed
          Boston, MA 02108
                                                                             Basis for the claim:    Lease at 720 SW Washington Street. Debtor is
          Date or dates debt was incurred
                                                                             tenant.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.82     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          GPO Morgan, LLC Urban Renaissance
          Group                                                               Contingent
          Urban Renaissance Prop Co                                           Unliquidated
          720 SW Washington St, Suite 630                                     Disputed
          Portland, OR 97205
                                                                             Basis for the claim:    Additional notice.
          Date or dates debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.83     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,200,000.00
          Grace Christian Ministries, Inc                                     Contingent
          15401 Bellaire Blvd.                                                Unliquidated
          Houston, TX 77083                                                   Disputed
          Date or dates debt was incurred 12/16/2014
                                                                             Basis for the claim:    Promissory Note.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.84     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Grace Christian Ministries, Inc.                                    Contingent
          c/o Christian, Smith & Jewell, LLP                                  Unliquidated
          2302 Fannin, Suite 500                                              Disputed
          Houston, TX 77002
                                                                             Basis for the claim:    Additional notice.
          Date or dates debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.85     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $15,516.16
          Dr. Kenton Gregory                                                  Contingent
          9155 SW Barnes Road                                                 Unliquidated
          Suite 240                                                           Disputed
          Portland, OR 97225
                                                                             Basis for the claim:    Chitosan Technology license agreement.
          Date or dates debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.86     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          GS1 US, Inc.                                                        Contingent
          7887 Washington Village Drive                                       Unliquidated
          Suite 300                                                           Disputed
          Dayton, OH 45459
                                                                             Basis for the claim:    Precautionary.
          Date or dates debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.87     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Kim Guenther                                                        Contingent
          518 Woodbird Place                                                  Unliquidated
          Paris, TN 38242                                                     Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Precautionary.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes



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 3.88     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Gyrus ACMI, Inc.                                                    Contingent
          Attn: Wally Puckett                                                 Unliquidated
          2925 Appling Road                                                   Disputed
          Bartlett, TN 38133
                                                                             Basis for the claim:    Precautionary.
          Date or dates debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.89     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Hatfield Communications LLC                                         Contingent
          POB 83825                                                           Unliquidated
          Portland, OR 97283-0825                                             Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Precautionary.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.90     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $12,700.00
          Healthcare Manufaktur GmbH                                          Contingent
          Gustav-Heinemann-Ufer 56                                            Unliquidated
          50968 Koln                                                          Disputed
          GERMANY
                                                                             Basis for the claim:    Trade Creditor
          Date or dates debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.91     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,784.00
          HemCon Medical Tech CZ s.r.o.                                       Contingent
          Delnicka 363                                                        Unliquidated
          CZ 506 01 Jicin                                                     Disputed
          CZECH REPUBLIC
                                                                             Basis for the claim:    Trade Creditor
          Date or dates debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.92     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Hi-Heat Industries, Inc                                             Contingent
          256 Hanover Road                                                    Unliquidated
          Lewistown, MT 59457                                                 Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Precautionary.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.93     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $11,355.00
          Hua Xie                                                             Contingent
          5929 NW Skycrest Pkwy                                               Unliquidated
          Portland, OR 97229                                                  Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    China Agent Commission
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.94     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $173,125.73
          Icon Pool 3 West, LLC                                               Contingent
          Two North Riverside Plaza                                           Unliquidated
          Suite 2350                                                          Disputed
          Chicago, IL 60606
          Date or dates debt was incurred
                                                                             Basis for the claim:    Leasehold restoration claim by previous landlord.
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.95     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $111,858.00
          IndCor Properties                                                   Contingent
          75 Remittance Drive                                                 Unliquidated
          Dept 6957                                                           Disputed
          Chicago, IL 60675-6957
          Date or dates debt was incurred
                                                                             Basis for the claim:    Landlord at Debtor old location at 10757 SW
                                                                             Cascade Ave.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.96     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $49,164.00
          IndCor Properties                                                   Contingent
          75 Remittance Drive                                                 Unliquidated
          Dept 6957                                                           Disputed
          Chicago, IL 60675-6957
          Date or dates debt was incurred
                                                                             Basis for the claim:    Landlord at Debtor old location at 10757 SW
                                                                             Cascade Ave.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.97     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $12,103.73
          IndCor Properties                                                   Contingent
          75 Remittance Drive                                                 Unliquidated
          Dept 6957                                                           Disputed
          Chicago, IL 60675-6957
          Date or dates debt was incurred
                                                                             Basis for the claim:    Landlord at Debtor old location at 10757 SW
                                                                             Cascade Ave.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.98     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Lawrence K. Ingber                                                  Contingent
          POB 630                                                             Unliquidated
          Palm Beach, FL 33480                                                Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Precautionary.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.99     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Inland Integration                                                  Contingent
          114 West Pacific Ave.                                               Unliquidated
          Suite 204                                                           Disputed
          Spokane, WA 99201
                                                                             Basis for the claim:    Precautionary.
          Date or dates debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.100    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $257,651.24
          Innovize                                                            Contingent
          500 Oak Grove Parkway                                               Unliquidated
          St. Paul, MN 55127                                                  Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Manufacturing services.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.101    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $82,939.70
          Innovize                                                            Contingent
          500 Oak Grove Parkway                                               Unliquidated
          St. Paul, MN 55127                                                  Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Manufacturing services.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes



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 3.102    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Instron Corporation                                                 Contingent
          75 Remittance Drive, Ste. 6826                                      Unliquidated
          Chicago, IL 60675-6826                                              Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Precautionary.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.103    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $697.24
          Integra Telecom, Inc.                                               Contingent
          18110 SE 34th St.                                                   Unliquidated
          Building One, Ste 100                                               Disputed
          Vancouver, WA 98682
                                                                             Basis for the claim:    Trade Creditor
          Date or dates debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.104    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $36,623.04
          IPFS (Imperial Credit Corp)                                         Contingent
          POB 100391                                                          Unliquidated
          Pasadena, CA 91189-0391                                             Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Insurance premium financing.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.105    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Irvine Pharmaceutical Services                                      Contingent
          10 Vanderbilt Ave.                                                  Unliquidated
          Irvine, CA 92618                                                    Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Precautionary.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.106    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Jones Lang LaSalle Americas, Inc                                    Contingent
          BMO Harris Bank                                                     Unliquidated
          33832 Treasury Center Dr                                            Disputed
          Chicago, IL 60694-3800
                                                                             Basis for the claim:    Precautionary.
          Date or dates debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.107    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Kemeera, Inc. | DBA Fathom                                          Contingent
          329 Jesfferson Street                                               Unliquidated
          Oakland, CA 97607                                                   Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Precautionary.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.108    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Kim & Chang
          Seyang Bldg. (Main Reception)                                       Contingent
          39, Sajik-ro 8-gil                                                  Unliquidated
          Jongno-gu, Seoul 03170                                              Disputed
          KOREA
                                                                             Basis for the claim:    Precautionary.
          Date or dates debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.109    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Lab Consulting, LLC                                                 Contingent
          3047 NE 14th Ave.                                                   Unliquidated
          Portland, OR 97212                                                  Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Precautionary.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.110    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $11,950.00
          Lab Support                                                         Contingent
          33035 Collection Center Drive                                       Unliquidated
          Chicago, IL 60693-0330                                              Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Trade Creditor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.111    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $113.75
          Lampire Biologic Laboratories, Inc.                                 Contingent
          POB 270                                                             Unliquidated
          Pipersville, PA 18947                                               Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Bovine blood.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.112    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $8,001.50
          Law Office of Charles J. Ingber                                     Contingent
          4653 Carmel Mountain Road                                           Unliquidated
          Suite 308-217                                                       Disputed
          San Diego, CA 92130
                                                                             Basis for the claim:
          Date or dates debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.113    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Lawrence Matasar, P.C.                                              Contingent
          621 SW Morrison St.                                                 Unliquidated
          Suite 1025                                                          Disputed
          Portland, OR 97205-3813
                                                                             Basis for the claim:    Precautionary.
          Date or dates debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.114    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          LEAD IT Consulting LLC                                              Contingent
          14990 SW 144th Ave.                                                 Unliquidated
          Portland, OR 97224                                                  Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Precautionary.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.115    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          LegalShield                                                         Contingent
          POB 2629                                                            Unliquidated
          Ada, OK 74821-9984                                                  Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Precautionary.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.116    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Legend Technical Services, Inc.                                     Contingent
          88 Empire Drive                                                     Unliquidated
          St. Paul, MN 55103                                                  Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Precautionary.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.117    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          LifeMap/Regence Life and Health                                     Contingent
          POB 1271                                                            Unliquidated
          MS E3A                                                              Disputed
          Portland, OR 97207-1271
                                                                             Basis for the claim:    Precautionary.
          Date or dates debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.118    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $180,000.00
          John Linderman and James Barickman                                  Contingent
          10 Saugatuck Ave.                                                   Unliquidated
          Westport, CT 06880                                                  Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Unsecured Loan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.119    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          James S. Linderman                                                  Contingent
          307 Springhouse Lane                                                Unliquidated
          Hockessin, DE 19707                                                 Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Precautionary.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.120    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $17,500.00
          John Linderman                                                      Contingent
          10 Saugatuck Ave.                                                   Unliquidated
          Westport, CT 06880                                                  Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Unsecured Loan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.121    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Louisiana Board of Wholesale Drug Dist.                             Contingent
          12091 Bricksome Ave.                                                Unliquidated
          Suite B                                                             Disputed
          Baton Rouge, LA 70816
                                                                             Basis for the claim:    Precautionary.
          Date or dates debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.122    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Mantra Technology, LLC                                              Contingent
          278 SW Mawrcrest Ave.                                               Unliquidated
          Gresham, OR 97080                                                   Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Precautionary.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.123    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Mazama Design LLC                                                   Contingent
          2990 NW Fitzgerald Ct                                               Unliquidated
          Bend, OR 97701                                                      Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Precautionary.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.124    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $37,500.02
          Simon J Mccarthy                                                    Contingent
          3715 NW Gordon Street                                               Unliquidated
          Portland, OR 97210
                                                                              Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Deferred bonus.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.125    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          McMaster-Carr Supply Co                                             Contingent
          POB 7690                                                            Unliquidated
          Chicago, IL 60680-7690                                              Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Precautionary.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.126    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $7,424.00
          MedAssets, Inc                                                      Contingent
          POB 741361                                                          Unliquidated
          Atlanta, GA 30374-7413                                              Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Trade Creditor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.127    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,735.00
          MedAssets, Inc                                                      Contingent
          POB 741361                                                          Unliquidated
          Atlanta, GA 30374-7413                                              Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Trade Creditor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.128    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Samuel Meeks                                                        Contingent
          11 Carrington Court                                                 Unliquidated
          Hazel Crest 60429                                                   Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Precautionary. Former employee.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.129    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          MetLife Local Market                                                Contingent
          POB 804466                                                          Unliquidated
          Kansas, MO 64180-4466                                               Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Precautionary.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.130    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Mettler-Toledo, Inc.                                                Contingent
          22670 Network Place                                                 Unliquidated
          Chicago, IL 60673-1226                                              Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Precautionary.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.131    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $18,024.00
          Michael L. Larson Company, P.C.                                     Contingent
          5665 Meadows Road, Suite 310                                        Unliquidated
          Lake Oswego, OR 97035                                               Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Tax services.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.132    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Micrex Corporation                                                  Contingent
          17 Industrial Road                                                  Unliquidated
          Walpole, MA 02081                                                   Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Precautionary.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.133    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Microrite Inc.                                                      Contingent
          5019 New Trier Ave.                                                 Unliquidated
          San Jose, CA 95136                                                  Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Precautionary.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.134    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Microsoft - Online Services                                         Contingent
          One Microsoft Way                                                   Unliquidated
          Redmond, WA 98052-6399                                              Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Precautionary.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.135    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $80,375.19
          Miller Nash LLP                                                     Contingent
          POB 3585                                                            Unliquidated
          Portland, OR 97208-3585                                             Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Patent services.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.136    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $11,000.00
          Miller Nash LLP                                                     Contingent
          POB 3585                                                            Unliquidated
          Portland, OR 97208-3585                                             Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Legal Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.137    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          National Health Institute
          ATTN: Karin J. Mastrangelo                                          Contingent
          6707 Democracy Blvd., Room 720C                                     Unliquidated
          2 Democracy Plaza                                                   Disputed
          Bethesda, MD 80892-5451
                                                                             Basis for the claim:    GI Hemostatic Dressing Grant 1R43DK104564-01
          Date or dates debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.138    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          National Health Institute                                           Contingent
          ATTN: Pamela M. Love                                                Unliquidated
          6707 Democracy Blvd.                                                Disputed
          Bethesda, MD 80892-5451
                                                                             Basis for the claim:    Precautionary.
          Date or dates debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.139    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,773.29
          Nelson Laboratories, Inc.                                           Contingent
          POB 571830                                                          Unliquidated
          Murray, UT 84157-1830                                               Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Trade Creditor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.140    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Netropole Inc.                                                      Contingent
          5630 NE MLK Blvd.                                                   Unliquidated
          Portland, OR 97211                                                  Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Precautionary.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.141    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $849.80
          New Horrizon, Inc.                                                  Contingent
          Attn: M. Sctott Stevens                                             Unliquidated
          8270 S 33rd #307                                                    Disputed
          Lincoln, NE 68516
                                                                             Basis for the claim:    Unsecured Loan/ Interest
          Date or dates debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.142    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Newegg Inc.                                                         Contingent
          9997 Rose Hills Road                                                Unliquidated
          Whittier, CA 90601                                                  Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Precautionary.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.143    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,088.14
          Northwest Paper Box Manufacturing                                   Contingent
          5617 N. Basin Ave.                                                  Unliquidated
          Portland, OR 97217-3901                                             Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Trade Creditor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.144    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $26,942.15
          NSAI Inc.
          Nat'l Standards Auth. of Ireland                                    Contingent
          Finance & Administration                                            Unliquidated
          20 Trafalgar Square Suite 603                                       Disputed
          Nashua, NH 03063
                                                                             Basis for the claim:    Trade Creditor
          Date or dates debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.145    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          NW Natural Gas                                                      Contingent
          POB 6017                                                            Unliquidated
          Portland, OR 97228-6017                                             Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Precautionary.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.146    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          NW Towncar Service                                                  Contingent
          17950 SW Loma Vista St                                              Unliquidated
          Beaverton, OR 97007                                                 Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Precautionary.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.147    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $18,500.00
          OHSU Proposal & Award                                               Contingent
          Mailcode L106OPAM                                                   Unliquidated
          0690 SW Bancroft Street                                             Disputed
          Portland, OR 97239
                                                                             Basis for the claim:    Grant with OHSU regenerative medicine
          Date or dates debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.148    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,568.14
          OHSU Proposal & Award                                               Contingent
          Mailcode L106OPAM                                                   Unliquidated
          0690 SW Bancroft Street                                             Disputed
          Portland, OR 97239
                                                                             Basis for the claim:    Grant with OHSU regenerative medicine
          Date or dates debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.149    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Oliver-Tolas Health Care Packaging                                  Contingent
          Account #04796                                                      Unliquidated
          905 Pennsylvania Blvd.                                              Disputed
          Festerville, PA 19053
                                                                             Basis for the claim:    Precautionary.
          Date or dates debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.150    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Olsson Industrial Electric/Olsson Contro                            Contingent
          POB 70413                                                           Unliquidated
          Eugene, OR 97401                                                    Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Precautionary.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.151    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $13,351.42
          Online Business Systems                                             Contingent
          400 S.W. 6th Ave., Suite 500                                        Unliquidated
          Portland, OR 97204                                                  Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    IT Infrastructure and support
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.152    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $326.10
          Oregon Dept of Environmental Quality                                Contingent
          3150 NW 229th Ave. #150                                             Unliquidated
          Hillsboro, OR 97124                                                 Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Trade Creditor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.153    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Oregon Dept of Revenue                                              Contingent
          POB 14725                                                           Unliquidated
          Salem, OR 97309-5018                                                Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Precautionary.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.154    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Oregon Employment Department                                        Contingent
          875 Union Street NE                                                 Unliquidated
          Salem, OR 97311                                                     Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Precautionary.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.155    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,000.00
          Oregon Health & Science Univ                                        Contingent
          Mail Code L002                                                      Unliquidated
          3181 SW Sam Jackson Park Rd.                                        Disputed
          Portland, OR 97239-3098
                                                                             Basis for the claim: Rental of laboratories at NW Gynecolory Center
          Date or dates debt was incurred
                                                                             (Peterkort office). Debtor is tenant.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.156    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Oregon Secretary of State                                           Contingent
          Corporate Division                                                  Unliquidated
          255 Capitol St NE Suite 151                                         Disputed
          Salem, OR 97310-1327
                                                                             Basis for the claim:    Precautionary.
          Date or dates debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.157    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Original Cin                                                        Contingent
          7814 SE Center St                                                   Unliquidated
          Portland, OR 97206                                                  Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Precautionary.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.158    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Owens & Minor
          NUS/SPM200-05-D-6200                                                Contingent
          Attn: CH87                                                          Unliquidated
          Bldg 2434, 20th Street                                              Disputed
          Fort Campbell, KY 42223
                                                                             Basis for the claim:    Precautionary.
          Date or dates debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.159    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Jody Oyama                                                          Contingent
          9710 SW Hialeah Drive                                               Unliquidated
          Beaverton 97008                                                     Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Precautionary. Former employee.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.160    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          PAETEC, a Windstream Company                                        Contingent
          POB 9001013                                                         Unliquidated
          Louisville, KY 40290-1013                                           Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Telecommunications provider.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.161    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Pape Material Handling                                              Contingent
          POB 5077                                                            Unliquidated
          Portland, OR 97208-5077                                             Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Precautionary.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.162    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Pardam, s r.o.
          Jindrissk 2025                                                      Contingent
          Pardubice,                                                          Unliquidated
          530 02                                                              Disputed
          CZECH REPUBLIC
                                                                             Basis for the claim:    Precautionary.
          Date or dates debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.163    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,000.00
          Alexander Peek                                                      Contingent
          1440 208th Dr.                                                      Unliquidated
          Seward, NE 68434                                                    Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Unsecured Loan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.164    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,000.00
          Jared Peek                                                          Contingent
          1440 208th Dr.                                                      Unliquidated
          Seward, NE 68434                                                    Disputed
          Date or dates debt was incurred        2/16/2015                   Basis for the claim:    Unsecured loan.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.165    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $9,720.39
          Perrin Pacific Corp                                                 Contingent
          2363 NW Flanders St.                                                Unliquidated
          Portland, OR 97210                                                  Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Commission / Agent for Japan.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.166    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Point Monitor Corp                                                  Contingent
          5863 Lakeview Blvd                                                  Unliquidated
          Suite 100                                                           Disputed
          Lake Oswego, OR 97035
                                                                             Basis for the claim:    Precautionary.
          Date or dates debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.167    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Portland General Electric                                           Contingent
          POB 4438                                                            Unliquidated
          Portland, OR 97208-4438                                             Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Precautionary.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.168    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Potter Clarkson LLP                                                 Contingent
          The Belgrave Center, Talbot Street                                  Unliquidated
          Nottingham, UK, NG1 5GG                                             Disputed
          UNITED KINGDOM
                                                                             Basis for the claim:    Precautionary. Patent services.
          Date or dates debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.169    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,060.00
          Premier Purchasing Partners, LP                                     Contingent
          BOX 847650                                                          Unliquidated
          Los Angeles, CA 90084-7650                                          Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Trade Creditor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.170    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $597.00
          Premier Purchasing Partners, LP                                     Contingent
          BOX 847650                                                          Unliquidated
          Los Angeles, CA 90084-7650                                          Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Trade Creditor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.171    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Primex ehf                                                          Contingent
          Oskarsgata 7                                                        Unliquidated
          580 Siglifjordur, Iceland                                           Disputed
          ICELAND
                                                                             Basis for the claim:    Precautionary.
          Date or dates debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.172    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,000.00
          Professional Testing Lab                                            Contingent
          714 Glenwood Pl                                                     Unliquidated
          Dalton, GA 30721                                                    Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Trade Creditor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.173    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $15,516.16
          Providence Health Sys - Oregon
          Misc. Cash - Research                                               Contingent
          Attn: Sue Rich / Joan Fegel                                         Unliquidated
          POB 13993                                                           Disputed
          Portland, OR 97213
                                                                             Basis for the claim:    Chitosan Technology license agreement.
          Date or dates debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.174    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Qosina, Inc                                                         Contingent
          150-Q Executive Drive                                               Unliquidated
          Edgewood, NY 11717-8329                                             Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Precautionary.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.175    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $93,818.90
          Quality Bioresources, Inc.                                          Contingent
          1015 North Austin Street                                            Unliquidated
          Seguin, TX 78155                                                    Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Product manufacturing services.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.176    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Quality Control Services, Inc.                                      Contingent
          2340 SE 11th Ave.                                                   Unliquidated
          Portland, OR 97293                                                  Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Precautionary.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.177    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Regence BlueCross Blue Shield                                       Contingent
          200 SW Market St.                                                   Unliquidated
          Portland, OR 97201                                                  Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Precautionary.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.178    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,707.43
          Lora Remington                                                      Contingent
          12047 SW Tualatin Road, #325                                        Unliquidated
          Tualatin, OR 97062
                                                                              Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Deferred bonus.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.179    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $270.00
          Rose City Moving & Storage                                          Contingent
          5130 N. Basin                                                       Unliquidated
          Portland, OR 97217                                                  Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Storage unit rental.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.180    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          SAIF Corporation                                                    Contingent
          400 High St SE                                                      Unliquidated
          Salem, OR 97312-1000                                                Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Precautionary.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.181    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,062.28
          Julie Saltamachio                                                   Contingent
          14377 SE Meadows Lane                                               Unliquidated
          Clackamas, OR 97015
                                                                              Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Deferred bonus.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.182    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $77,500.02
          Stuart Sands                                                        Contingent
          2165 NW Everett Steet                                               Unliquidated
          Portland, OR 97210
                                                                              Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Deferred bonus.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.183    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Stan Schroeder                                                      Contingent
          25621 Bridgewater Lane                                              Unliquidated
          Dana Point, CA 92629                                                Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Precautionary.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.184    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          SEC                                                                 Contingent
          Attn: Bankruptcy Counsel                                            Unliquidated
          444 South Flower Street, Suite 900                                  Disputed
          Los Angeles, CA 90071-9591
                                                                             Basis for the claim:    Precautionary Notice Only.
          Date or dates debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.185    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Security Signs                                                      Contingent
          2424 SE Holgate Blvd                                                Unliquidated
          Portland, OR 97202                                                  Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Precautionary.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.186    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $49,685.01
          Michelle Sells                                                      Contingent
          3501 Burlington Dr                                                  Unliquidated
          Newberg, OR 97132
                                                                              Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Deferred bonus.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.187    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Seneca Medical                                                      Contingent
          85 Shaffer Park Dr                                                  Unliquidated
          Tiffin, OH 44883                                                    Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Precautionary.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.188    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Shaanxi Pioneer Biotech Co., Ltd.
          No. 11 Daqing Road                                                  Contingent
          Lianhu District                                                     Unliquidated
          Xi'an 710082                                                        Disputed
          CHINA
                                                                             Basis for the claim:    Precautionary.
          Date or dates debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.189    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Bill Shields                                                        Contingent
          3095 SW 66Th Court                                                  Unliquidated
          Portland 97225                                                      Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Precautionary. Former employee.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.190    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Shusaku Yamamoto                                                    Contingent
          POB 31001-1267                                                      Unliquidated
          Pasadena, CA 91110-1267                                             Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Precautionary.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.191    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,506.01
          Sigma-Aldrich, Inc.                                                 Contingent
          POB 535182                                                          Unliquidated
          Atlanta, GA 30353-5182                                              Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Trade Creditor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.192    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Smart & Biggar
          55 Metcalfe St., Ste. 900                                           Contingent
          POB 2999, Station D                                                 Unliquidated
          Ottawa, ON K1P 5Y6                                                  Disputed
          CANADA
                                                                             Basis for the claim:    Precautionary.
          Date or dates debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.193    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,450.00
          SP Scientific - Hull                                                Contingent
          POB 48324                                                           Unliquidated
          Newark, NJ 07101-4850                                               Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Trade Creditor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.194    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $8,768.65
          Andrew Sprague                                                      Contingent
          10601 SW Tigard Street, #4                                          Unliquidated
          Tigard, OR 97223
                                                                              Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Deferred bonus.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.195    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $218,162.47
          SSOE Group                                                          Contingent
          7431 NW Evergreen Parkway, Suite 210                                Unliquidated
          Portland, OR 97205                                                  Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Building contractor.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.196    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $54.79
          Staples Business Advantage                                          Contingent
          Dept. LA                                                            Unliquidated
          POB 83689                                                           Disputed
          Chicago, IL 60696-3689
                                                                             Basis for the claim:    Trade Creditor
          Date or dates debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.197    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $300,000.00
          Barry Starkman                                                      Contingent
          7447 SW Hergert Rd.                                                 Unliquidated
          Cornelius, OR 97113                                                 Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Arbirtration Award
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.198    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Stericycle Environmental Solutions                                  Contingent
          625 South 32nd Street                                               Unliquidated
          Washougal, WA 98671                                                 Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Precautionary.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.199    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $13,686.24
          STERIS Isomedix                                                     Contingent
          Attention: Jessica Tibbetts                                         Unliquidated
          1000 S. Sarah Place                                                 Disputed
          Ontario, CA 91761
                                                                             Basis for the claim:    Sterilization of Products
          Date or dates debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.200    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,225.84
          STERIS Isomedix                                                     Contingent
          7828 North Nagel Ave.                                               Unliquidated
          Morton Grove, IL 60053                                              Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Sterilization of Products
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.201    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Stevens Integrated Solutions                                        Contingent
          4101 SE 26th Ave.                                                   Unliquidated
          Portland, OR 97202                                                  Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Precautionary.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.202    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,914.40
          Rachelle Stewart                                                    Contingent
          1103 N Meridian St. Unit 4201                                       Unliquidated
          Newberg, OR 97132
                                                                              Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Deferred bonus.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.203    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Sussex Associates, LP                                               Contingent
          Paul Conrad CPA - RA                                                Unliquidated
          2238 Woodland Park Dr.                                              Disputed
          Houston, TX 77077
                                                                             Basis for the claim:    Additional notice.
          Date or dates debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.204    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Taipei Economic & Cultural Rep Office                               Contingent
          4201 Wisconsin Ave. NW                                              Unliquidated
          Washington, DC 20016                                                Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Precautionary.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.205    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Taylor Plumbing and Heating                                         Contingent
          Paul Taylor                                                         Unliquidated
          14743 Hinebaugh Plz                                                 Disputed
          Omaha, NE 68116
                                                                             Basis for the claim:    Precautionary.
          Date or dates debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.206    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $50,000.00
          Paul Taylor                                                         Contingent
          14743 Himebaugh Plaza                                               Unliquidated
          Omaha, NE 68116                                                     Disputed
          Date or dates debt was incurred        1/20/2015                   Basis for the claim:    Promissory Note.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.207    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Technopack Corporation                                              Contingent
          7865 NW 46 St.                                                      Unliquidated
          Miami, FL 33166                                                     Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Precautionary.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.208    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Techstreet                                                          Contingent
          3916 Ranchero Drive                                                 Unliquidated
          Ann Arbor, MI 48108                                                 Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Precautionary.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.209    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,747.20
          Amennie Tes                                                         Contingent
          15520 NE 85th Street                                                Unliquidated
          Vancouver, WA 98682
                                                                              Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Deferred bonus.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.210    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Texas Comptroller of Public Accounts                                Contingent
          POB 149348                                                          Unliquidated
          Austin, TX 78714-9348                                               Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Precautionary.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.211    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          The Dental Box Company, Inc.                                        Contingent
          9807 Braewick Drive                                                 Unliquidated
          Allison Park, PA 15101                                              Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Precautionary.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.212    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          The Oregonian                                                       Contingent
          POB 9001049                                                         Unliquidated
          Louisville, KY 40290-1049                                           Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Precautionary.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.213    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Thermo Electron North America, LLC                                  Contingent
          POB 742775                                                          Unliquidated
          Atlanta, GA 30374-2775                                              Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Precautionary.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.214    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $8,066.57
          Thermo Fisher Scientific                                            Contingent
          POB 842339                                                          Unliquidated
          Dallas, TX 75284-2339                                               Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Trade Creditor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.215    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Thermo Fisher Scientific                                            Contingent
          POB 712117                                                          Unliquidated
          Cincinnati, OH 45271-2117                                           Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Additional notice.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.216    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          ThreeJay Trustee Irrevocable Trust                                  Contingent
          130 Industrial Blvd. STE 110                                        Unliquidated
          Sugarland, TX 77478                                                 Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Precautionary.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.217    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Tigers Global Logistics                                             Contingent
          1100 Thorndale Ave.                                                 Unliquidated
          Elk Grove Village, IL 60007                                         Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Precautionary.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.218    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          TM Electronics, Inc.                                                Contingent
          45 Main Street                                                      Unliquidated
          Boylston, MA 01505                                                  Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Precautionary.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.219    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $400,000.00
          Topside Partners LP                                                 Contingent
          24200 SW Freeway, #402-286                                          Unliquidated
          Rosenberg, TX 77471                                                 Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Unsecured Loan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.220    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          TQM Inc.                                                            Contingent
          3088 Elm Point Industrial Drive                                     Unliquidated
          St. Charles, MO 63301-4337                                          Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Precautionary.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.221    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Trafinger Trustee Irrevocable Trust                                 Contingent
          130 Industrial Blvd. STE 110                                        Unliquidated
          Sugarland, TX 77478                                                 Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Precautionary.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.222    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          TransPak                                                            Contingent
          10675 SW Manhasset Dr.                                              Unliquidated
          Tualatin, OR 97062                                                  Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Precautionary.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.223    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,246.00
          Trilane Ltd.
          Trust Company Complex                                               Contingent
          Ajeltake Rd.                                                        Unliquidated
          Ajeltake Island, Majuro MH96960                                     Disputed
          MARSHALL ISLANDS
                                                                             Basis for the claim:    Unsecured Loan/ Interest
          Date or dates debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.224    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          TriMet                                                              Contingent
          M/S 02                                                              Unliquidated
          POB 4300                                                            Disputed
          Portland, OR 97208-9833
                                                                             Basis for the claim:    Precautionary.
          Date or dates debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.225    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $313,704.12
          TriStar Wellness Solutions, Inc.                                    Contingent
          720 SW Washington                                                   Unliquidated
          STE 200                                                             Disputed
          Portland, OR 97205
                                                                             Basis for the claim:    Intercompany Loan
          Date or dates debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.226    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $19,245.00
          TSI Manufacturing LLC                                               Contingent
          60025 East Ridgeview Drive                                          Unliquidated
          Bend, OR 97702                                                      Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Manufacturer.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.227    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          U.S. Department of State                                            Contingent
          Office of Authentications                                           Unliquidated
          44132 Mercure CIR POB 1206                                          Disputed
          Sterling, VA 20166-1206
                                                                             Basis for the claim:    Precautionary.
          Date or dates debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.228    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $147.98
          ULINE Shipping Supply Spec                                          Contingent
          Attn: Accounts Receivable                                           Unliquidated
          2200 S. Lakeside Drive                                              Disputed
          Waukegan, IL 60085
                                                                             Basis for the claim:    Trade Creditor
          Date or dates debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.229    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          US Dept of Commerce US Commercial Svc
          American Consulate General                                          Contingent
          Willi-Becker Allee 10, Attn: Ms. Uta Kir                            Unliquidated
          D sseldorf 40227                                                    Disputed
          GERMANY
                                                                             Basis for the claim:    Precautionary.
          Date or dates debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.230    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          VanderHouwen & Assoc.                                               Contingent
          6342 SW Macadam Ave.                                                Unliquidated
          Portland, OR 97239                                                  Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Precautionary.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.231    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Vendor Services Center                                              Contingent
          POB 15270                                                           Unliquidated
          Irvine, CA 92623                                                    Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Precautionary. Terminated UCC filing 89120514.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.232    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Verrill Dana LLP                                                    Contingent
          33 Riverside Ave.                                                   Unliquidated
          Westport, CT 06880                                                  Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Precautionary.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.233    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Frederick A. Voight
          c/o Michael W. Stockton                                             Contingent
          One Arts Plaza                                                      Unliquidated
          1722 Routh St., Suite 1500                                          Disputed
          Dallas, TX 75201
                                                                             Basis for the claim:    Additional notice.
          Date or dates debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.234    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,404.00
          Frederick A. Voight                                                 Contingent
          5834 Bridlewood Dr.                                                 Unliquidated
          Richmond, TX 77469                                                  Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Unsecured Loan/ Interest
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes



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 3.235    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          VWR (VMI)                                                           Contingent
          POB 640169                                                          Unliquidated
          Pittsburgh, PA 15264-0169                                           Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Precautionary.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.236    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          VWR Int'l, Inc.                                                     Contingent
          12350 SW Tualatin Rd                                                Unliquidated
          Tualatin, OR 97062                                                  Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Precautionary.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.237    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,000.00
          Judy Wadhams                                                        Contingent
          815 North 95th St.                                                  Unliquidated
          Lincoln, NE 68505                                                   Disputed
          Date or dates debt was incurred        1/20/2015                   Basis for the claim:    Unsecured loan.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.238    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Patrick Wagner                                                      Contingent
          3737 SW Council Crest Dr.                                           Unliquidated
          Portland 97239                                                      Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Precautionary. Former employee.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.239    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,934.36
          Jana L Wahl                                                         Contingent
          11166 SE 30th Avenue                                                Unliquidated
          Milwaukie, OR 97222
                                                                              Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Deferred bonus.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.240    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Waste Management of Oregon                                          Contingent
          Washington County                                                   Unliquidated
          POB 78251                                                           Disputed
          Phoenix, AZ 85062-8251
                                                                             Basis for the claim:    Precautionary.
          Date or dates debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.241    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $37,500.00
          Michael Wax                                                         Contingent
          1500 SW 5th Avenue, Unit 1106                                       Unliquidated
          Portland, OR 97201
                                                                              Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Deferred bonus.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.242    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $41.25
          Webfortis                                                           Contingent
          1966 Tice Valley Blvd.,                                             Unliquidated
          Suite #422                                                          Disputed
          Walnut Creek, CA 94595
                                                                             Basis for the claim:    Trade Creditor
          Date or dates debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.243    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,238.21
          Stephanie Wiegman                                                   Contingent
          1460 SW Bertha Blvd, #16                                            Unliquidated
          Portland, OR 97219
                                                                              Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Deferred bonus.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.244    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $9,680.99
          Ervelyn Winata                                                      Contingent
          463 NE Natalie Street                                               Unliquidated
          Hillsboro, OR 97124
                                                                              Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Deferred bonus.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.245    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Windstream Communications                                           Contingent
          4001 Rodney Parham Rd.                                              Unliquidated
          Little Rock, AR 72212                                               Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Precautionary.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.246    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Alysha C. Wold                                                      Contingent
          1655 NW Bridgeway Lane                                              Unliquidated
          Beaverton 97006                                                     Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Precautionary. Former employee.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.247    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Woodruff-Sawyer & Co.                                               Contingent
          POB 7466                                                            Unliquidated
          San Francisco, CA 94120-9704                                        Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Precautionary.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.248    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          World Cup Coffee & Tea Service, Inc.                                Contingent
          1740 NW Glisan                                                      Unliquidated
          Portland, OR 97209                                                  Disputed
          Date or dates debt was incurred
                                                                             Basis for the claim:    Precautionary.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 42 of 43
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 Debtor       HemCon Medical Technologies, Inc.                                                       Case number (if known)            16-30119-pcm11
              Name

 3.249     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $31,741.31
           WuXi AppTec, Inc.                                                  Contingent
           1265 Kennestone Circle                                             Unliquidated
           Marietta, GA 30066                                                 Disputed
           Date or dates debt was incurred
                                                                             Basis for the claim:    Release testing on manufacturing.
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.250     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $900.00
           Xenium Resources                                                   Contingent
           7401 SW Washo Ct. Suite 200                                        Unliquidated
           Tualatin, OR 97062                                                 Disputed
           Date or dates debt was incurred
                                                                             Basis for the claim:    Trade Creditor
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.251     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                       $0.00
           Xinlong Nonwovens (Beijing) Co., Ltd.
           Room 1702, Building 1                                              Contingent
           Wanda Plaza, No. 93 Jianguo Rd                                     Unliquidated
           Chaoyang District, Beijing 100071                                  Disputed
           CHINA
                                                                             Basis for the claim:    Precautionary.
           Date or dates debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes
 3.252     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                       $0.00
           Yankee Alliance                                                    Contingent
           138 River Road                                                     Unliquidated
           Andover, MA 01810                                                  Disputed
           Date or dates debt was incurred
                                                                             Basis for the claim:    Precautionary.
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

         Name and mailing address                                                                    On which line in Part1 or Part 2 is the          Last 4 digits of
                                                                                                     related creditor (if any) listed?                account number, if
                                                                                                                                                      any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                       60,598.63
 5b. Total claims from Part 2                                                                            5b.    +   $                    4,745,383.69

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.        $                        4,805,982.32




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 43 of 43
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 Fill in this information to identify the case:

 Debtor name         HemCon Medical Technologies, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF OREGON

 Case number (if known)         16-30119-pcm11
                                                                                                                                  Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the debtor's other schedules.   There is nothing else to report on this form.
       Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal            Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

 2.1.      State what the contract or               Employee health
           lease is for and the nature              benefits services.
           of the debtor's interest

              State the term remaining                                         AFLAC
                                                                               Attn: Remittance Processing
            List the contract number of                                        1932 Wynnton Road
             any government contract                                           Columbus, GA 31993-0797


 2.2.      State what the contract or               Employee benefit
           lease is for and the nature              services.
           of the debtor's interest

              State the term remaining
                                                                               Allegiance Benefit Plan Mgmt
            List the contract number of                                        POB 4346
             any government contract                                           Missoula, MT 59806-4346


 2.3.      State what the contract or               Off site document
           lease is for and the nature              storage services.
           of the debtor's interest

              State the term remaining
                                                                               Archive Systems, Inc.
            List the contract number of                                        23070 NE Townsend Way
             any government contract                                           Portland, OR 97024


 2.4.      State what the contract or               Sales tax management
           lease is for and the nature              software services.
           of the debtor's interest

              State the term remaining
                                                                               Avalara
            List the contract number of                                        435 Eriksen Ave., N.E.
             any government contract                                           Bainbridge Island, WA 98110




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                           Page 1 of 10
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 Debtor 1 HemCon Medical Technologies, Inc.                                                  Case number (if known)   16-30119-pcm11
             First Name               Middle Name                    Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.5.      State what the contract or               License and supply
           lease is for and the nature              agreement.
           of the debtor's interest

              State the term remaining
                                                                                 Bard Access Systems - M.Doc
            List the contract number of                                          605 North 5600 West
             any government contract                                             Salt Lake City, UT 84116


 2.6.      State what the contract or               Quality control release
           lease is for and the nature              testing services.
           of the debtor's interest

              State the term remaining
                                                                                 Biotest Laboratories
            List the contract number of                                          9303 West Broadway Ave.
             any government contract                                             Brooklyn Park, MN 55445


 2.7.      State what the contract or               Lab and storage space
           lease is for and the nature              services.
           of the debtor's interest

              State the term remaining                                           Business Accelerator
                                                                                 Portland State University
            List the contract number of                                          351 NW 12th Ave.
             any government contract                                             Portland, OR 97209


 2.8.      State what the contract or               European authorized
           lease is for and the nature              representative and
           of the debtor's interest                 consulting services.

              State the term remaining
                                                                                 CEpartner4U BV
            List the contract number of                                          POB 268
             any government contract                                             Elk River, MN 55330


 2.9.      State what the contract or               IT Infrastructure and
           lease is for and the nature              support services.
           of the debtor's interest

              State the term remaining
                                                                                 Covenant Technology Solutions, Inc.
            List the contract number of                                          15 SE 82nd Drive Suite 120
             any government contract                                             Gladstone, OR 97027


 2.1       State what the contract or               Enterprise Resource
 0.        lease is for and the nature              Planning software
           of the debtor's interest                 implemetation services.

              State the term remaining                                           eSoftware Professionals
                                                                                 10450 SW Nimbus, Suite B
            List the contract number of                                          Portland, OR 97223
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                      Page 2 of 10
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 Debtor 1 HemCon Medical Technologies, Inc.                                                  Case number (if known)   16-30119-pcm11
             First Name               Middle Name                    Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

              any government contract


 2.1       State what the contract or               Sales support and
 1.        lease is for and the nature              consultancy services.
           of the debtor's interest

              State the term remaining                                           Essential Healthcare Management
                                                                                 Attn: Stan Schroeder, Managing Partner
            List the contract number of                                          216 Yorkshire Drive
             any government contract                                             Heath, TX 75032


 2.1       State what the contract or               Document control
 2.        lease is for and the nature              software.
           of the debtor's interest
                                                                                 Gael Limited
              State the term remaining                                           Orion House
                                                                                 S.E. Technology Park
            List the contract number of                                          East Kilbride G75 0RD
             any government contract                                             SCOTLAND


 2.1       State what the contract or               Lease at 720 SW
 3.        lease is for and the nature              Washington Street.
           of the debtor's interest                 Debtor is tenant.

              State the term remaining                                           GPO Morgan LLC
                                                                                 Urban Renaissance Prop Co
            List the contract number of                                          720 SW Washington St, Suite 630
             any government contract                                             Portland, OR 97205


 2.1       State what the contract or               Chitosan Technology
 4.        lease is for and the nature              license agreement.
           of the debtor's interest

              State the term remaining                                           Dr. Kenton Gregory
                                                                                 9155 SW Barnes Road
            List the contract number of                                          Suite 240
             any government contract                                             Portland, OR 97225


 2.1       State what the contract or               Manufacturing
 5.        lease is for and the nature              contrator.
           of the debtor's interest

              State the term remaining
                                                                                 hi-tech Products
            List the contract number of                                          8530 Roland St.
             any government contract                                             Buena Park, CA 90621




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                      Page 3 of 10
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 Debtor 1 HemCon Medical Technologies, Inc.                                                  Case number (if known)   16-30119-pcm11
             First Name               Middle Name                    Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1       State what the contract or               China Agent
 6.        lease is for and the nature              Commission
           of the debtor's interest

              State the term remaining
                                                                                 Hua Xie
            List the contract number of                                          5929 NW Skycrest Pkwy
             any government contract                                             Portland, OR 97229


 2.1       State what the contract or               Manufacturing
 7.        lease is for and the nature
           of the debtor's interest

              State the term remaining
                                                                                 Innovize
            List the contract number of                                          500 Oak Grove Parkway
             any government contract                                             St. Paul, MN 55127


 2.1       State what the contract or               Calibration of QC
 8.        lease is for and the nature              release equipment
           of the debtor's interest

              State the term remaining
                                                                                 Instron Corporation
            List the contract number of                                          75 Remittance Drive, Ste. 6826
             any government contract                                             Chicago, IL 60675-6826


 2.1       State what the contract or               Broadband
 9.        lease is for and the nature
           of the debtor's interest

              State the term remaining
                                                                                 Integra Telecom, Inc.
            List the contract number of                                          POB 2966
             any government contract                                             Milwaukee, WI 53201-2966


 2.2       State what the contract or               Insurance premium
 0.        lease is for and the nature              financing agreement.
           of the debtor's interest

              State the term remaining
                                                                                 IPFS (Imperial Credit Corp)
            List the contract number of                                          POB 100391
             any government contract                                             Pasadena, CA 91189-0391


 2.2       State what the contract or               Disability insurance
 1.        lease is for and the nature
           of the debtor's interest
                                                                                 LifeMap/Regence Life and Health
              State the term remaining                                           POB 1271
                                                                                 MS E3A
            List the contract number of                                          Portland, OR 97207-1271
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                      Page 4 of 10
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 Debtor 1 HemCon Medical Technologies, Inc.                                                  Case number (if known)   16-30119-pcm11
             First Name               Middle Name                    Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

              any government contract


 2.2       State what the contract or               Group purchasing
 2.        lease is for and the nature              agreement.
           of the debtor's interest

              State the term remaining
                                                                                 MedAssets, Inc
            List the contract number of                                          POB 741361
             any government contract                                             Atlanta, GA 30374-7413


 2.2       State what the contract or               Sales and distribution
 3.        lease is for and the nature
           of the debtor's interest

              State the term remaining
                                                                                 Medline Industries, Inc.
            List the contract number of                                          9101 Riverside Pkwy
             any government contract                                             Lithia Springs, GA 30122-3869


 2.2       State what the contract or               Sales and distribution
 4.        lease is for and the nature
           of the debtor's interest

              State the term remaining                                           Medline Sp.
                                                                                 Fabryczna 17
            List the contract number of                                          65-410 Zielona G ra
             any government contract                                             POLAND


 2.2       State what the contract or               Dental insurance-
 5.        lease is for and the nature              employees
           of the debtor's interest

              State the term remaining
                                                                                 MetLife Local Market
            List the contract number of                                          POB 804466
             any government contract                                             Kansas, MO 64180-4466


 2.2       State what the contract or               Medical Advisor
 6.        lease is for and the nature
           of the debtor's interest

              State the term remaining
                                                                                 Michel A. Boileau
            List the contract number of                                          75 Bond Street
             any government contract                                             Bend, OR 97702




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 Debtor 1 HemCon Medical Technologies, Inc.                                                  Case number (if known)   16-30119-pcm11
             First Name               Middle Name                    Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.2       State what the contract or               Notified body for CE
 7.        lease is for and the nature              mark
           of the debtor's interest
                                                                                 NSAI Inc.
              State the term remaining                                           Nat'l Standards Auth. of Ireland
                                                                                 Finance & Administration
            List the contract number of                                          20 Trafalgar Square Suite 603
             any government contract                                             Nashua, NH 03063


 2.2       State what the contract or               Grant with OHSU
 8.        lease is for and the nature              regenerative medicine
           of the debtor's interest

              State the term remaining                                           OHSU Proposal & Award
                                                                                 Mailcode L106OPAM
            List the contract number of                                          0690 SW Bancroft Street
             any government contract                                             Portland, OR 97239


 2.2       State what the contract or               IT Infrastructure and
 9.        lease is for and the nature              support
           of the debtor's interest

              State the term remaining
                                                                                 Online Business Systems
            List the contract number of                                          400 S.W. 6th Ave., Suite 500
             any government contract                                             Portland, OR 97204


 2.3       State what the contract or               Rental of laboratories
 0.        lease is for and the nature              at NW Gynecolory
           of the debtor's interest                 Center (Peterkort
                                                    office). Debtor is
                                                    tenant.
              State the term remaining                                           Oregon Health & Science Univ
                                                                                 Mail Code L002
            List the contract number of                                          3181 SW Sam Jackson Park Rd.
             any government contract                                             Portland, OR 97239-3098


 2.3       State what the contract or               Telephone services.
 1.        lease is for and the nature
           of the debtor's interest

              State the term remaining
                                                                                 PAETEC, a Windstream Company
            List the contract number of                                          POB 9001013
             any government contract                                             Louisville, KY 40290-1013


 2.3       State what the contract or               Commission / Agent for
 2.        lease is for and the nature              Japan.
           of the debtor's interest
                                                                                 Perrin Pacific Corp
              State the term remaining                                           2363 NW Flanders St.
                                                                                 Portland, OR 97210
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                      Page 6 of 10
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 Debtor 1 HemCon Medical Technologies, Inc.                                                  Case number (if known)   16-30119-pcm11
             First Name               Middle Name                    Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

            List the contract number of
             any government contract


 2.3       State what the contract or               Group purchasing
 3.        lease is for and the nature              agreement.
           of the debtor's interest

              State the term remaining
                                                                                 Premier Purchasing Partners, LP
            List the contract number of                                          BOX 847650
             any government contract                                             Los Angeles, CA 90084-7650


 2.3       State what the contract or               Distribution services.
 4.        lease is for and the nature
           of the debtor's interest
                                                                                 Prometheus Medical Ltd.
              State the term remaining                                           The Old Rectory
                                                                                 Hope Under Dinmore
            List the contract number of                                          Hereford, Herefordshire HR6 0PW
             any government contract                                             UNITED KINGDOM


 2.3       State what the contract or               Production Agreement.
 5.        lease is for and the nature
           of the debtor's interest
                                                                                 Prometheus Medical Ltd.
              State the term remaining                                           The Old Rectory
                                                                                 Hope Under Dinmore
            List the contract number of                                          Hereford, Herefordshire HR6 0PW
             any government contract                                             UNITED KINGDOM


 2.3       State what the contract or               Sub-license
 6.        lease is for and the nature              Agreement.
           of the debtor's interest
                                                                                 Prometheus Medical Ltd.
              State the term remaining                                           The Old Rectory
                                                                                 Hope Under Dinmore
            List the contract number of                                          Hereford, Herefordshire HR6 0PW
             any government contract                                             UNITED KINGDOM


 2.3       State what the contract or               Chitosan Technology
 7.        lease is for and the nature              license agreement.
           of the debtor's interest
                                                                                 Providence Health Sys - Oregon
              State the term remaining                                           Misc. Cash - Research
                                                                                 Attn: Sue Rich / Joan Fegel
            List the contract number of                                          POB 13993
             any government contract                                             Portland, OR 97213




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 Debtor 1 HemCon Medical Technologies, Inc.                                                  Case number (if known)   16-30119-pcm11
             First Name               Middle Name                    Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.3       State what the contract or               Product manufacturing
 8.        lease is for and the nature              services.
           of the debtor's interest

              State the term remaining
                                                                                 Quality Bioresources, Inc.
            List the contract number of                                          1015 North Austin Street
             any government contract                                             Seguin, TX 78155


 2.3       State what the contract or               Employee health
 9.        lease is for and the nature              benefits services.
           of the debtor's interest

              State the term remaining
                                                                                 Regence BlueCross Blue Shield
            List the contract number of                                          200 SW Market St.
             any government contract                                             Portland, OR 97201


 2.4       State what the contract or               Distribution services.
 0.        lease is for and the nature
           of the debtor's interest

              State the term remaining                                           Rene Smit International bv
                                                                                 Parkweg 17a
            List the contract number of                                          2585 JH Den Haag
             any government contract                                             NETHERLANDS


 2.4       State what the contract or               Storage unit rental.
 1.        lease is for and the nature
           of the debtor's interest

              State the term remaining
                                                                                 Rose City Moving & Storage
            List the contract number of                                          5130 N. Basin
             any government contract                                             Portland, OR 97217


 2.4       State what the contract or               Workers compensation
 2.        lease is for and the nature              insurance services.
           of the debtor's interest

              State the term remaining
                                                                                 SAIF Corporation
            List the contract number of                                          400 High St SE
             any government contract                                             Salem, OR 97312-1000


 2.4       State what the contract or               Employment
 3.        lease is for and the nature              Agreement.
           of the debtor's interest

              State the term remaining                                           Stuart Sands
                                                                                 2165 NW Everett Steet
            List the contract number of                                          Portland, OR 97210
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 Debtor 1 HemCon Medical Technologies, Inc.                                                  Case number (if known)   16-30119-pcm11
             First Name               Middle Name                    Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

              any government contract


 2.4       State what the contract or               Sales and distribution
 4.        lease is for and the nature
           of the debtor's interest
                                                                                 Solaris Electro Medical
              State the term remaining                                           G22/A-1 Park Lane KDA Scheme #5
                                                                                 Karachi
            List the contract number of                                          Lahore
             any government contract                                             PAKISTAN


 2.4       State what the contract or               401k services.
 5.        lease is for and the nature
           of the debtor's interest

              State the term remaining                                           Standard Life 401K
                                                                                 Attn: Accounts Receivable
            List the contract number of                                          POB 1800
             any government contract                                             Portland, OR 97207


 2.4       State what the contract or               Sterilization of
 6.        lease is for and the nature              Products
           of the debtor's interest

              State the term remaining
                                                                                 STERIS Isomedix
            List the contract number of                                          2500 Commerce Drive
             any government contract                                             Libertyville, IL 60048


 2.4       State what the contract or               Sterilization of
 7.        lease is for and the nature              Products
           of the debtor's interest

              State the term remaining
                                                                                 STERIS Isomedix
            List the contract number of                                          7828 North Nagel Ave.
             any government contract                                             Morton Grove, IL 60053


 2.4       State what the contract or               Third party logistics
 8.        lease is for and the nature              services.
           of the debtor's interest

              State the term remaining
                                                                                 Tigers Global Logistics
            List the contract number of                                          1100 Thorndale Ave.
             any government contract                                             Elk Grove Village, IL 60007




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 Debtor 1 HemCon Medical Technologies, Inc.                                                  Case number (if known)   16-30119-pcm11
             First Name               Middle Name                    Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.4       State what the contract or               Manufacturer.
 9.        lease is for and the nature
           of the debtor's interest

              State the term remaining
                                                                                 TSI Manufacturing LLC
            List the contract number of                                          60025 East Ridgeview Drive
             any government contract                                             Bend, OR 97702


 2.5       State what the contract or               Release testing on
 0.        lease is for and the nature              manufacturing.
           of the debtor's interest

              State the term remaining
                                                                                 WuXi AppTec, Inc.
            List the contract number of                                          1265 Kennestone Circle
             any government contract                                             Marietta, GA 30066


 2.5       State what the contract or               Group purchasing
 1.        lease is for and the nature              agreement.
           of the debtor's interest

              State the term remaining
                                                                                 Yankee Alliance
            List the contract number of                                          138 River Road
             any government contract                                             Andover, MA 01810


 2.5       State what the contract or               Sales and distribution
 2.        lease is for and the nature
           of the debtor's interest
                                                                                 Zeria Pharmaceutical Co., Ltd.
              State the term remaining                                           Zeria Pharmaceutical Co., Ltd.
                                                                                 10-11, Nihonbashi Kobunacho
            List the contract number of                                          Choku, Tokyo 103-8351
             any government contract                                             JAPAN




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                      Page 10 of 10
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                                               Case 16-30119-pcm11                Doc 70      Filed 01/29/16
 Fill in this information to identify the case:

 Debtor name         HemCon Medical Technologies, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF OREGON

 Case number (if known)         16-30119-pcm11
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                        12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

     No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
     Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                             Check all schedules
                                                                                                                                  that apply:

    2.1      TriStar Wellness                  720 SW Washington                                 Larry L. Alloway                    D
             Solutions, Inc.                   Ste 200                                                                               E/F       3.9
                                               Portland, OR 97205                                                                    G




    2.2      TriStar Wellness                  720 SW Washington                                 James Barickman                     D
             Solutions, Inc.                   Ste 200                                                                               E/F       3.24
                                               Portland, OR 97205                                                                    G




    2.3      TriStar Wellness                  720 SW Washington                                 DayStar Funding LP                  D
             Solutions, Inc.                   Ste 200                                                                               E/F       3.53
                                               Portland, OR 97205                                                                    G




    2.4      TriStar Wellness                  720 SW Washington                                 Grace Christian                     D
             Solutions, Inc.                   Ste 200                                           Ministries, Inc                     E/F       3.83
                                               Portland, OR 97205                                                                    G




Official Form 206H                                                       Schedule H: Your Codebtors                                            Page 1 of 2
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 Debtor       HemCon Medical Technologies, Inc.                                     Case number (if known)   16-30119-pcm11


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.5      TriStar Wellness                  720 SW Washington                         John Linderman                     D
             Solutions, Inc.                   Ste 200                                                                      E/F       3.120
                                               Portland, OR 97205                                                           G




    2.6      TriStar Wellness                  720 SW Washington                         Alexander Peek                     D
             Solutions, Inc.                   Ste 200                                                                      E/F       3.163
                                               Portland, OR 97205                                                           G




    2.7      TriStar Wellness                  720 SW Washington                         Jared Peek                         D
             Solutions, Inc.                   Ste 200                                                                      E/F       3.164
                                               Portland, OR 97205                                                           G




    2.8      TriStar Wellness                  720 SW Washington                         Sussex Associates,                 D   2.1
             Solutions, Inc.                   Ste 200                                   LP                                 E/F
                                               Portland, OR 97205                                                           G




    2.9      TriStar Wellness                  720 SW Washington                         Paul Taylor                        D
             Solutions, Inc.                   Ste 200                                                                      E/F       3.206
                                               Portland, OR 97205                                                           G




    2.10     TriStar Wellness                  720 SW Washington                         Topside Partners LP                D
             Solutions, Inc.                   Ste 200                                                                      E/F       3.219
                                               Portland, OR 97205                                                           G




    2.11     TriStar Wellness                  720 SW Washington                         Judy Wadhams                       D
             Solutions, Inc.                   Ste 200                                                                      E/F       3.237
                                               Portland, OR 97205                                                           G




Official Form 206H                                                   Schedule H: Your Codebtors                                       Page 2 of 2
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                                                Case 16-30119-pcm11       Doc 70     Filed 01/29/16
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 Debtor name         HemCon Medical Technologies, Inc.

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                                                                                                                                   Check if this is an
                                                                                                                                    amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                           12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                 Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

                 Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

                 Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

                 Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

                 Schedule H: Codebtors (Official Form 206H)

                 Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                 Amended Schedule
                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                 Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          January 29, 2016                        X /s/ Michael Wax
                                                                       Signature of individual signing on behalf of debtor

                                                                       Michael Wax
                                                                       Printed name

                                                                       President & CEO
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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